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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                               Chapter 11
In re:
                                                               Case No. 17-12224 (MFW)
                                       1
MAC ACQUISITION LLC, et al.,
                                                               (Jointly Administered)
                                  Debtors.

                     DEBTORS’ JOINT PLAN OF REORGANIZATION
                    UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

THIS PROPOSED CHAPTER 11 PLAN IS NOT AN OFFER WITH RESPECT TO ANY
SECURITIES OR SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN
PURSUANT TO SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL BE MADE ONLY IN COMPLIANCE WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE.

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Dated: October 25, 2017
       Wilmington, Delaware




1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Mac
    Acquisition LLC (6362); Mac Parent LLC (6715); Mac Holding LLC (6682); Mac Acquisition of New Jersey
    LLC (1121); Mac Acquisition of Kansas LLC (3910); Mac Acquisition of Anne Arundel County LLC (6571);
    Mac Acquisition of Frederick County LLC (6881); Mac Acquisition of Baltimore County LLC (6865); and
    Macaroni Grill Services LLC (5963). The headquarters for the above-captioned Debtors is located at 1855
    Blake St., Ste. 200, Denver, CO 80202.
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                                             INTRODUCTION

              Mac Acquisition LLC, Mac Parent LLC, Mac Holding LLC, Macaroni Grill
Services LLC, Mac Acquisition of Anne Arundel County LLC, Mac Acquisition of Baltimore
County LLC, Mac Acquisition of Frederick County LLC, Mac Acquisition of Kansas LLC, and
Mac Acquisition of New Jersey LLC, the above-captioned debtors and debtors in possession,
propose the following joint plan of reorganization under section 1121(a) of the Bankruptcy
Code.1

               The Chapter 11 Cases are being jointly administered pursuant to an order of the
Court, and this Plan is being presented as a joint plan of reorganization of the Debtors. Claims
against, and Interests in, the Debtors (other than DIP Facility Claims, Administrative Claims,
Professional Fee Claims, and Priority Tax Claims) are classified in Article II hereof and treated
in Article IV hereof.

               Reference is made to the Disclosure Statement accompanying this Plan, including
the exhibits thereto, for a discussion of the Debtors’ history, business, properties, financial
projections of future operations, and risk factors, together with a summary and analysis of this
Plan. All Claim and Interest holders entitled to vote on this Plan are encouraged to review the
Disclosure Statement and to read this Plan carefully before voting to accept or reject this Plan.

           NO SOLICITATION MATERIALS, OTHER THAN THE DISCLOSURE
STATEMENT AND RELATED MATERIALS TRANSMITTED THEREWITH AND
APPROVED BY THE COURT, HAVE BEEN AUTHORIZED BY THE COURT FOR USE IN
SOLICITING ACCEPTANCES OR REJECTIONS OF THIS PLAN.

                Subject to certain restrictions and requirements set forth herein and section 1127
of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtors reserve the right to alter, amend,
modify, revoke or withdraw this Plan prior to its substantial consummation (as such term is
defined in section 1101 of the Bankruptcy Code).




1
    Capitalized terms used in this Introduction shall have the meanings ascribed to them below.
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                                                 I.

                    DEFINITIONS AND CONSTRUCTION OF TERMS

       A.      Definitions.

               Unless otherwise defined herein, or the context otherwise requires, the following
terms shall have the respective meanings set forth below:

        1.      “Administrative Claim” means a Claim for costs and expenses of administration
of the Estates pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy
Code other than DIP Facility Claims, including: (a) the actual and necessary costs and expenses
incurred after the Petition Date and through the Effective Date of preserving and operating the
Estates; (b) any indebtedness or obligations incurred or assumed by the Debtors in connection
with the conduct of their businesses after the Petition Date, including for wages, salaries, or
commissions for services, and payments for goods and other services and leased premises to the
extent such indebtedness or obligations provided a benefit to the Debtors’ estates; and (c) all fees
and charges assessed against the Estates pursuant to section 1930 of chapter 123 of title 28 of the
United States Code.

       2.       “Administrative Claims Bar Date” means the first Business Day that is thirty (30)
days after the Effective Date.

        3.      “Allowed” means, with reference to a Claim, (i) a Claim against a Debtor that has
been listed by such Debtor in the Schedules, as such Schedules may be amended by the Debtors
from time to time in accordance with Bankruptcy Rule 1009, as liquidated in amount and not
Disputed or contingent and for which no contrary Proof of Claim has been timely filed, (ii) a
Claim with respect to which a Proof of Claim that has been timely filed by the applicable Bar
Date (or for which Claim under this Plan, the Bankruptcy Code or Final Order of the Court a
Proof of Claim is or shall not be required to be filed), which Proof of Claim has not been
withdrawn and as to which Proof of Claim no objection to allowance, request for estimation, or
motion or other effort to subordinate or reclassify has been interposed prior to the expiration of
the time for filing any such objection, or (iii) any Claim expressly Allowed by a Final Order or
Allowed under this Plan, provided that any Claim that is Allowed for the limited purpose of
voting to accept or reject this Plan pursuant to an order of the Court shall not be considered
“Allowed” for the purpose of Distributions hereunder.

      4.     “Avoidance Actions” means any Causes of Action pursuant to chapter 5 of the
Bankruptcy Code.

        5.    “Ballots” means each of the ballot forms distributed with the Disclosure
Statement to each holder of an Impaired Claim (other than to holders not entitled to vote on this
Plan) for, among other things, voting on the acceptance or rejection of this Plan.

       6.      “Bankruptcy Code” means chapter 11 of title 11 of the United States Code.



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        7.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
promulgated under section 2075 of the Judicial Code and the general, local and chambers rules
of the Court.

      8.      “Bar Date” means the applicable date on which a Proof of Claim must be filed as
may be specifically fixed by an order of the Court.

       9.      “BOC” means Bank of Colorado.

        10.    “BOC Claims” means all Claims held by BOC against any of the Debtors as of
the Petition Date.

       11.   “BOC Credit Documents” means those promissory notes, guarantees, security
agreements and related documents, including guarantees, security agreements, and all exhibits,
amendments, and supplements thereto, in each case related to (i) that Business Loan Agreement
dated as of April 17, 2015, by and between Mac Parent and BOC, (ii) that Business Loan
Agreement dated as of December 20, 2016, by and between Mac Parent and BOC, and (iii) that
Business Loan Agreement dated as of September 19, 2017, by and between Mac Parent and
BOC.

     12.    “BOC Non-Debtor Guarantees” means the guarantees executed by the BOC
Non-Debtor Guarantors in favor of BOC.

       13.     “BOC Non-Debtor Guarantors” means all entities and individuals who have
previously signed guarantees in favor of BOC and that are not Debtors.

       14.   “BOC Post-Effective Date Credit Documents” means the amended and restated
business loan agreements, promissory notes, guarantees, security agreements and related
documents and exhibits, memorializing the treatment of BOC Claims under the Plan

       15.     “Budget” has the meaning set forth in the DIP Credit Agreement.

        16.    “Business Day” means any day, other than a Saturday, Sunday or Legal Holiday
(as defined in Bankruptcy Rule 9006(a)(6)).

       17.     “Business Plan” means the business plan incorporated in the Disclosure
Statement.

       18.     “Cash” means the legal tender of the United States of America.

        19.    “Causes of Action” means any and all actions, proceedings, causes of action,
suits, accounts, demands, controversies, agreements, promises, rights to legal remedies, rights to
equitable remedies, rights to payment, and claims, whether known, unknown, reduced to
judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, non-contingent,
matured, unmatured, now-owned, hereafter acquired, disputed, undisputed, secured, or
unsecured, and whether asserted or assertable directly or derivatively in law, equity, or
otherwise, including Avoidance Actions or any other cause of action arising under the



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Bankruptcy Code, unless otherwise waived or released by the Debtor(s) or by the Reorganized
Debtor(s).

       20.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor,
the case pending for that Debtor under chapter 11 of the Bankruptcy Code and (b) when used
with reference to all Debtors, the procedurally consolidated chapter 11 cases pending for the
Debtors in the Court.

      21.    “Claim” means any claim, as such term is defined in section 101(5) of the
Bankruptcy Code, against a Debtor.

        22.    “Claims Agent” means Donlin, Recano & Company, Inc., or any successor
thereto.

       23.     “Class” means a class of Claims or Equity Interests as classified under this Plan.

        24.     “Collateral” means any property or interest in property of the Estates subject to a
Lien to secure the payment or performance of a Claim, which Lien has not been avoided or is not
subject to avoidance under the Bankruptcy Code or otherwise invalid under the Bankruptcy Code
or applicable state law.

       25.    “Confirmation Date” means the date upon which the Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy
Rules 5003 and 9021.

       26.     “Confirmation Hearing” means the confirmation hearing held by the Court
pursuant to section 1129 of the Bankruptcy Code, as such hearing may be continued from time to
time.

        27.     “Confirmation Order” means the order of the Court in form and substance
satisfactory to the Supporting Parties and the DIP Agent confirming this Plan pursuant to section
1129 of the Bankruptcy Code.

       28.      “Court” means, (a) the United States Bankruptcy Court for the District of
Delaware, having jurisdiction over the Chapter 11 Cases; (b) to the extent there is no reference
pursuant to section 157 of title 28 of the United States Code, the United States District Court for
the District of Delaware; and (c) any other court having jurisdiction over the Chapter 11 Cases or
proceedings arising therein.

       29.     “Creditors’ Committee” means the Official Committee of Unsecured Creditors
appointed by the United States Trustee in the Chapter 11 Cases, as constituted from time to time.

      30.     “Debtors” means Mac Acquisition LLC, Mac Parent LLC, Mac Holding LLC,
Macaroni Grill Services LLC, Mac Acquisition of New Jersey LLC, Mac Acquisition of Kansas
LLC, Mac Acquisition of Anne Arundel County LLC, Mac Acquisition of Baltimore County
LLC, and Mac Acquisition of Frederick County LLC.




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       31.    “DIP Agent” means Raven, in its capacity as Administrative Agent and Collateral
Agent under the under the DIP Credit Agreement.

        32.   “DIP Credit Agreement” means that certain Debtor-in-Possession Credit,
Guaranty and Security Agreement, dated as of October 20, 2017, by and among Mac Acquisition
LLC, the guarantors from time to time party thereto, the DIP Lenders and the DIP Agent, and all
exhibits, amendments, and supplements thereto.

        33.    “DIP Facility” means the debtor-in-possession financing provided to the Debtors
during the Chapter 11 Cases pursuant to the DIP Credit Agreement in an amount not less than $5
million; provided that, for the avoidance of doubt, the DIP Facility does not include the Exit
Facility.

        34.    “DIP Facility Claims” means all Claims arising under or relating to the DIP
Facility, whether pursuant to the DIP Credit Agreement, any other DIP Loan Document, any
notes, the Final DIP Order, or otherwise.

       35.     “DIP Lenders” means the lender(s) under the DIP Facility.

        36.   “DIP Loan Documents” means the DIP Credit Agreement, the Credit Documents
(as defined in the DIP Credit Agreement) and all related documents, including guarantees,
security agreements, and the Agent Fee Letter (as defined in the DIP Credit Agreement), the
Interim DIP Order, and the Final DIP Order.

       37.    “Disbursing Agent” means the Reorganized Debtors, or any Person designated by
the Reorganized Debtors, to serve as a disbursing agent or to assist the Reorganized Debtors in
the making of Distributions, under this Plan.

        38.    “Disclosure Statement” means the written disclosure statement that relates to this
Plan in form and substance reasonably satisfactory to the Supporting Parties and the DIP Agent,
as approved by the Court pursuant to section 1125 of the Bankruptcy Code and Bankruptcy Rule
3017, as such disclosure statement may be amended, modified or supplemented from time to
time subject to the prior written consent of the Supporting Parties and the DIP Agent.

      39.      “Disputed” means, with reference to any Claim, any Claim that has not been
Allowed.

        40.     “Distributions” means the distribution in accordance with this Plan of (a) Cash,
(b) New Equity Interests, (c) the amended and restated loan documents contemplated with
respect to the Allowed BOC Claims, (d) rights and obligations with respect to the Exit Facility,
or (e) other forms of consideration, as the case may be.

        41.     “Effective Date” means the date on which all conditions to the effectiveness of
this Plan are either (a) satisfied or (b) waived by each of the Debtors, the Supporting Parties, and
the DIP Agent, and on which this Plan is declared effective.

       42.    “Equity Interest” or “Interest” means any equity security within the meaning of
section 101(16) of the Bankruptcy Code or any other instrument evidencing an ownership


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interest in any of the Debtors (or Reorganized Debtors, as applicable), whether or not
transferable, any option, warrant, or right, contractual or otherwise, to acquire, sell or subscribe
for any such interest, and any and all Claims that are otherwise determined by the Court to be an
equity interest, including any Claim or debt that is recharacterized as an equity interest.

        43.    “Estates” means the chapter 11 estates of the Debtors, individually or
collectively, as is appropriate in the context created by the commencement of and in the
Chapter 11 Cases pursuant to section 541 of the Bankruptcy Code.

        44.     “Exculpated Party” means each of the following parties, solely in such capacity:
(a) the Debtors; (b) the Creditors’ Committee; (c) each member of the Creditors’ Committee in
its capacity as such; (d) the DIP Agent and DIP Lenders; (e) the Exit Facility Agent and Lenders;
(f) with respect to each of the foregoing entities, such entities’ successors, assigns, subsidiaries,
managed accounts, and funds; and (f) with respect to each of the foregoing entities in (a) through
(e), such entity’s current and former officers and directors, principals, equity holders, members,
partners, managers, employees, subcontractors, agents, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors (and employees thereof), and other Professionals, and such entity’s
respective heirs, executors, estates, servants, and nominees, in each case in their capacity as such.

       45.     “Existing Equity Interests” means all issued and outstanding Equity Interests in
Mac Parent, including any vested or unvested and exercised or unexercised options or warrants
to acquire such Equity Interests.

        46.    “Exit Facility” means the exit facility to be provided by Raven (or an affiliate of
Raven) in the aggregate amount up to $8,500,000, plus all DIP Facility Claims converted into
debt under the Exit Facility in accordance with and subject to approval of final terms consistent
with terms and conditions set forth in the Exit Facility Term Sheet and definitive documentation
acceptable to the Debtors and the Exit Facility Agent.

       47.     “Exit Facility Agent and Lenders” means Raven, in its respective capacity as
Administrative Agent, Collateral Agent, and Lender under the Exit Facility and any other
lender(s), agent(s), arranger(s) and other lender party(ies) in their respective capacities under the
Exit Facility.

       48.     “Exit Facility Documents” means the definitive documentation acceptable to the
Exit Facility Agent governing the Exit Facility and all related documents, including guarantees
and security agreements.

       49.     “Exit Facility Term Sheet” means that certain term sheet attached to the DIP
Credit Agreement as Annex C, that sets forth the principal understanding of the parties and terms
of and conditions precedent to the Exit Facility, but does not constitute a commitment.

       50.     “Final DIP Order” means the Final Order entered by the Court in the Chapter 11
Cases approving, on a final basis, the DIP Facility, including without limitation the granting of
liens and superpriority claims to the DIP Agent and/or DIP Lenders (as applicable), and
authorizing the use of cash collateral in accordance with the Budget, in form and substance



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consistent with the Interim DIP Order and otherwise reasonably satisfactory to the Supporting
Parties and the DIP Agent.

        51.     “Final Order” means an order or judgment of the Court, or other court of
competent jurisdiction, as entered on the docket of such court, the operation or effect of which
has not been stayed, reversed, vacated, modified or amended, and as to which order or judgment
(or any revision, modification, or amendment thereof) the time to appeal, petition for certiorari,
or seek review or rehearing has expired and as to which no appeal, petition for certiorari, or
petition for review or rehearing was filed or, if filed, remains pending or subject to any right of
further appeal, petition for certiorari or petition for review or rehearing.

       52.    “General Unsecured Claim” means a Claim against any of the Debtors that is not
a DIP Facility Claim, Administrative Claim, Priority Tax Claim, Other Priority Claim, BOC
Claim, Riesen Funding Claims, Other Secured Claim, Intercompany Claim, or Subordinated
Claim, and shall include any Claims arising from existing or potential litigation against any of
the Debtors.

        53.    “General Unsecured Claim Cash Pool” means the $500,000 Cash pool to be
distributed to holders of Allowed General Unsecured Claims if Class 5 votes in favor of this
Plan.

        54.      “Impaired” means, when used with reference to a Claim or Interest, a Claim or
Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.

       55.    “Indemnification Obligation” means any obligation of any of the Debtors to
indemnify, reimburse, or provide contribution pursuant to charter, by-laws, contract, or
otherwise.

        56.     “Indemnified Parties” means the DIP Agent, DIP Lenders, and any other
“Indemnitees” (as defined under the DIP Credit Agreement) under the DIP Credit Agreement,
and those individuals serving, immediately prior to the Effective Date, as members of the boards
of directors (or comparable governing body) or officers of the Debtors.

       57.     “Intercompany Claims” means any Claim held by one of the Debtors against any
other Debtor, including (a) any account reflecting intercompany book entries by a Debtor with
respect to any other Debtor, (b) any Claim not reflected in book entries that is held by such
Debtor against any other Debtor or Debtors, and (c) any derivative Claim asserted or assertable
by or on behalf of a Debtor against any other Debtor or Debtors.

       58.    “Intercompany Interests” means any Interest held by one of the Debtors in any
other Debtor.

        59.    “Interim DIP Order” means the order entered by the Court in the Chapter 11
Cases approving, on an interim basis, the DIP Facility, including without limitation the granting
of liens and superpriority claims to the DIP Agent and/or DIP Lenders (as applicable), and
authorizing the use of cash collateral in accordance with the Budget entered on the docket of the
Court on October 19, 2017 [Docket No. 56].



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       60.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       61.     “Litigation Rights” means the Causes of Action, claims, suits, or proceedings,
whether in law or in equity, whether known or unknown, that the Debtors or their Estates may
hold against any Person (except to the extent such claims are expressly released under this Plan),
which are to be retained by the Reorganized Debtors and identified in the Plan Supplement.

      62.      “Mac Acquisition” means Mac Acquisition LLC, a Delaware limited liability
company.

       63.     “Mac Holding” means Mac Holding LLC, a Delaware limited liability company.

       64.     “Mac Parent” means Mac Parent LLC, a Delaware limited liability company.

        65.     “New Equity Interests” means the new membership interests in Reorganized Mac
Parent to be issued on or after the Effective Date.

         66.     “Other Priority Claim” means any Claim against any of the Debtors other than an
Administrative Claim, a Professional Fee Claim, a Priority Tax Claim or a DIP Facility Claim
that is entitled to priority in payment as specified in section 507(a)(3), (4), (5), (6), (7), or (9) of
the Bankruptcy Code.

       67.    “Other Secured Claims” means any Claim (other than the DIP Facility Claims,
the BOC Claims or the Riesen Funding Claims) to the extent reflected in the Schedules or a
Proof of Claim filed as a secured Claim, which is (i) secured by a Lien on Collateral to the extent
of the value of such Collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code, or, (ii) in the event that such Claim is subject to setoff under section 553 of the
Bankruptcy Code, to the extent of such setoff.

        68.     “Person” means any individual, corporation, partnership, limited liability
company, association, indenture trustee, organization, joint stock company, joint venture, estate,
trust, Governmental Unit (as defined in the Bankruptcy Code) or any political subdivision
thereof, or any other entity.

       69.     “Petition Date” means October 18, 2017.

        70.    “Plan” means this “Debtors’ Joint Plan of Reorganization Under Chapter 11 of
the Bankruptcy Code”, as it may be amended or modified from time to time in accordance with
the terms hereof, together with all addenda, exhibits, schedules or other attachments, if any.

        71.     “Plan Supplement” means any compilation of documents and forms of
documents, agreements, schedules, and exhibits to this Plan, which shall be filed by the Debtors
no later than ten (10) calendar days before the Confirmation Hearing, and additional documents
filed with the Court prior to the Effective Date as amendments to the Plan Supplement, each of
which shall be consistent in all respects with, and shall otherwise contain, the terms and
conditions set forth on the exhibits attached hereto, where applicable, and, without limiting the
foregoing, shall be satisfactory in form and substance to the Supporting Parties, the DIP Agent,
and the Debtors, except to the extent otherwise expressly provided herein. The Plan Supplement


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shall include the following documents, among others: Litigation Rights, Schedules of Assumed
Contracts and Leases, a list of any insurance policies that are not being assumed as of the
Effective Date, Exit Facility Documents, BOC Post- Effective Date Credit Documents, an
Intercreditor Agreement between BOC and Exit Facility Agent and Lenders, Reorganized Mac
Parent Operating Agreement, and the form of Operating Agreement for each of the Debtors that
are subsidiaries of Mac Parent, in a form reasonably acceptable to the Debtors, the Supporting
Parties, and the DIP Agent.

        72.   “Priority Tax Claim” means any unsecured Claim that is entitled to a priority in
right of payment under section 507(a)(8) of the Bankruptcy Code.

       73.     “Professional” means any professional employed in the Chapter 11 Cases
pursuant to sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for
services rendered and expenses incurred during the Chapter 11 Cases pursuant to sections 327,
328, 329, 330, 331, or 363 of the Bankruptcy Code.

        74.    “Professional Fee Claim” means an Administrative Claim Allowed for
reasonable compensation of a Professional or other Person for services rendered or expenses
incurred in the Chapter 11 Cases on or prior to the Effective Date (including the reasonable,
actual and necessary expenses of the members of the Creditors’ Committee incurred as members
of the Creditors’ Committee in discharge of their duties as such).

        75.    “Pro Rata” means the proportion that an Allowed Claim in a particular Class
bears to the aggregate amount of Allowed Claims in that Class, or the proportion that an Allowed
Claim in a particular Class bears to the aggregate amount of Allowed Claims in that Class and in
any other Class entitled to share in the same recovery as such Allowed Claim under this Plan.

      76.     “Proof of Claim” means a proof of Claim filed against any of the Debtors in the
Chapter 11 Cases.

        77.      “Raven” means Raven Asset-Based Opportunity Fund III, L.P., a Delaware
limited liability company.

       78.    “Record Date” means, for purposes of making distributions under this Plan on
account of Allowed Claims, the Confirmation Date or such other date as established by the
Bankruptcy Court with respect to publicly traded securities.

        79.     “Released Parties” means: (a) each Debtor, (b) the DIP Lenders and the DIP
Agent, (c) the Exit Facility Agent and Lenders, (d) BOC, (e) Riesen Funding, and (f) with
respect to each of the foregoing entities identified in subsections (a) through (e), such Person’s
current and former equity holders, including shareholders, partnership interest holders, and
limited liability company unit holders, affiliates, partners, subsidiaries, members, officers,
directors, managers serving on a board of managers, principals, employees, agents, managed
funds, advisors, attorneys, accountants, investment banks, consultants, representatives, and other
professionals, but solely in the foregoing capacities, together with their respective predecessors,
successors, and assigns.




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       80.    “Reorganized Debtor” means each of the Debtors, or any successors thereto by
merger, consolidation, or otherwise, on and after the Effective Date.

        81.    “Reorganized Mac Parent” means Mac Parent immediately from and after the
Effective Date.

      82.    “Reorganized Mac Parent Operating Agreement” means the limited liability
company operating agreement of Reorganized Mac Parent.

       83.     “Restructuring Support Agreement” means that certain Restructuring Support
Agreement dated as of October 18, 2017, between the Debtors and the Supporting Parties, as the
same may be amended or otherwise modified in accordance with its terms, and all exhibits and
schedules thereto.

      84.      “Riesen Funding” means Riesen Funding, LLC, an Arizona limited liability
company.

       85.   “Riesen Funding Claims” means all obligations arising from the $5,000,000 loan
made by Riesen Funding to Mac Parent evidenced by that Promissory Note dated as of July 3,
2017, which was guarantied by, and secured by the assets of, Mac Acquisition and Mac Holding.

       86.     “Schedule of Assumed Contracts and Leases” means the schedule of executory
contracts and unexpired leases to be assumed pursuant to this Plan to be filed in connection with
the Plan Supplement, which schedule shall be acceptable in form and substance to the DIP Agent
and the Supporting Parties.

         87.      “Schedules” means the schedules of assets and liabilities, statements of financial
affairs, lists of holders of Claims and Equity Interests and related exhibits filed with the Court by
each of the Debtors, including any amendments or supplements thereto.

       88.     “Subordinated Claims” means any Claim that is subordinated by Final Order of
the Court pursuant to section 510(b) or 510(c) of the Bankruptcy Code.

       89.     “Supporting Parties” means the parties to the Restructuring Support Agreement.

        90.      “Unimpaired” means, when used with reference to a Claim or Interest, a Claim or
Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

       B.      Interpretation, Application of Definitions, and Rules of Construction.

               Wherever from the context it appears appropriate, each term stated in either the
singular or the plural shall include both the singular and plural, and pronouns stated in the
masculine, feminine or neuter gender shall include the masculine, feminine, and neuter, such
meanings to be applicable to both the singular and plural forms of the terms defined. Capitalized
terms in this Plan that are not defined herein shall have the same meanings assigned to such
terms by the Bankruptcy Code or Bankruptcy Rules, as the case may be. The words “herein,”
“hereof,” and “hereunder” and other words of similar import refer to this Plan as a whole and not
to any particular section or subsection in this Plan unless expressly provided otherwise. The


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words “includes” and “including” are not limiting and mean that the things specifically identified
are set forth for purposes of illustration, clarity or specificity and do not in any respect qualify,
characterize or limit the generality of the class within which such things are included, and the
words “includes” or “including” are deemed immediately followed by the phrase “without
limitation.” Captions and headings to Articles, Sections, and exhibits to this Plan are inserted for
convenience of reference only, are not a part of this Plan, and shall not be used to interpret this
Plan. The rules of construction set forth in section 102 of the Bankruptcy Code shall apply to
this Plan. In computing any period of time prescribed or allowed by this Plan, the provisions of
Bankruptcy Rule 9006(a) shall apply.

       C.      Reference to Monetary Figures

               All references in this Plan to monetary figures shall refer to currency of the
United States of America, unless otherwise expressly provided.

       D.      Consent Rights of Supporting Parties

               Notwithstanding anything herein to the contrary, any and all consent rights of the
respective parties to the Restructuring Support Agreement set forth in the Restructuring Support
Agreement with respect to the form and substance of this Plan and the documents and
instruments contained in the Plan Supplement, including any amendments, restatements,
supplements, or other modifications to such documents, and any consents, waivers or other
deviations under or from such documents, shall be incorporated herein by this reference and fully
enforceable as if stated in full herein.

                                                 II.

               CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

       A.      General Rules of Classification.

               Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation
of the Classes of Claims and Interests. In accordance with section 1123(a)(1) of the Bankruptcy
Code, DIP Facility Claims, Administrative Claims, Professional Fee Claims, and Priority Tax
Claims, as described below, have not been classified. These Claims are not entitled to vote to
accept or reject this Plan. A Claim or Interest is placed in a particular Class only to the extent
that the Claim or Interest falls within the description of that Class and is classified in other
Classes to the extent that any portion of the Claim or Interest falls within the description of such
other Classes. A Claim or Interest is also placed in a particular Class for the purpose of
receiving Distributions pursuant to this Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not been paid,
released or otherwise settled prior to the Effective Date.

                 As discussed in greater detail in Article VI hereof, this Plan is premised upon the
consolidation of the Debtors for purposes of this Plan only and shall not affect the legal and
entity structures of the Debtors, subject to the rights of the Debtors to effectuate the restructuring
transactions contemplated herein. Accordingly, for purposes of this Plan, the assets and
liabilities of each of the Debtors are deemed assets and liabilities of a single, consolidated entity.


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This consolidation treatment is designed to consensually pool the assets and liabilities of the
Debtors solely to implement the settlements and compromises reached by the primary
constituencies in the Chapter 11 Cases.

        B.     Classification of Claims and Interests.

                 The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which of those Classes are (i) Impaired or Unimpaired under this Plan,
(ii) entitled to vote to accept or reject this Plan, and (iii) deemed to either accept or reject this
Plan. A Claim or Interest is designated in a particular Class only to the extent it falls within the
description of that Class, and is classified in any other Class to the extent (if any) that a portion
of such Claim or Interest falls within the description of such other Class.

Class           Designation                       Status                    Entitled to Vote
  1     Other Priority Claims                 Unimpaired           No (deemed to accept)
  2     Other Secured Claims                  Unimpaired           No (deemed to accept)
  3     BOC Claims                              Impaired           Yes
  4     Riesen Funding Claims                   Impaired           Yes
  5     General Unsecured Claims                Impaired           Yes
  6     Intercompany Claims                   Unimpaired           No (deemed to accept)
  7     Subordinated Claims                     Impaired           No (deemed to reject)
  8     Existing Equity Interests               Impaired           No (deemed to reject)
  9     Intercompany Interests                Unimpaired           No (deemed to accept)

                                                III.

   TREATMENT OF ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS,
    PRIORITY TAX CLAIMS, DIP FACILITY CLAIMS AND STATUTORY FEES

        A.     Administrative Claims.

                Except to the extent a holder of an Allowed Administrative Claim already has
been paid during the Chapter 11 Cases or such holder agrees to less favorable treatment with
respect to such holder’s Claim, each holder of an Allowed Administrative Claim shall receive, in
full satisfaction, settlement, release, and discharge of, and in exchange for, its Administrative
Claim, Cash equal to the unpaid portion of its Allowed Administrative Claim, to be paid on the
latest of: (a) the Effective Date, or as soon as reasonably practicable thereafter, if such
Administrative Claim is Allowed as of the Effective Date; (b) the date such Administrative
Claim is Allowed, or as soon as reasonably practicable thereafter; (c) the date such Allowed
Administrative Claim becomes due and payable, or as soon as reasonably practicable thereafter;
and (d) such other date as may be agreed upon between the holder of such Allowed
Administrative Claim and the Debtors or the Reorganized Debtors, as the case may be.



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       B.     Administrative Claims Bar Date.

                Unless a prior date has been established pursuant to the Bankruptcy Code, the
Bankruptcy Rules or a prior order of the Court, the Confirmation Order will establish a bar date
for filing notices, requests, Proofs of Claim, applications or motions for allowance of
Administrative Claims (other than Professional Fee Claims, DIP Facility Claims, and Claims by
any trade creditor or customer of the Debtors whose Claim is on account of ordinary course of
business goods or services provided to the Debtors during the course of these Chapter 11 Cases),
which date shall be the Administrative Claims Bar Date. All other holders of Administrative
Claims not paid prior to the Confirmation Date must file with the Court and serve upon the
Debtors or Reorganized Debtors, as applicable, a motion requesting payment of such
Administrative Claim on or before the Administrative Claims Bar Date or forever be barred from
doing so. The notice of entry of the Confirmation Order to be delivered pursuant to Bankruptcy
Rules 3020(c) and 2002(f) will set forth the Administrative Claims Bar Date and constitute good
and sufficient notice of the Administrative Claims Bar Date.

       C.     Professional Fee Claims.

               All requests for compensation or reimbursement of Professional Fee Claims
pursuant to sections 327, 328, 330, 331, 363, 503, or 1103 of the Bankruptcy Code for services
rendered prior to the Effective Date shall be filed and served on the Reorganized Debtors,
counsel to the Reorganized Debtors, the United States Trustee, counsel to each of the Supporting
Parties, counsel to the Creditors’ Committee, and such other entities who are designated by the
Bankruptcy Rules, the Confirmation Order or other order of the Court, no later than thirty (30)
days after the Effective Date. Holders of Professional Fee Claims that are required to file and
serve applications for final allowance of their Professional Fee Claims and that do not file and
serve such applications by the required deadline shall be forever barred from asserting such
Claims against the Debtors, the Reorganized Debtors, or their respective properties, and such
Professional Fee Claims shall be deemed discharged as of the Effective Date. Objections to any
Professional Fee Claims must be filed and served no later than fifty (50) days following the
Effective Date. Objections must be served on the Reorganized Debtors, counsel for the
Reorganized Debtors, counsel to each of the Supporting Parties, counsel to the Creditors’
Committee, and the holders of Professional Fee Claims requesting payment.

       D.     Priority Tax Claims.

                Except to the extent a holder of an Allowed Priority Tax Claim agrees to a
different treatment, in full and final satisfaction, settlement, release, and discharge of and in
exchange for each Allowed Priority Tax Claim, each such holder shall be paid, at the option of
the Debtors, with the approval of the Supporting Parties and the DIP Agent, (i) in the ordinary
course of the Debtors’ business, consistent with past practice; provided, however, that in the
event the balance of any such Claim becomes due during the pendency of the Bankruptcy Cases
and remains unpaid as of the Effective Date, the holder of such Claim shall be paid in full in
Cash on the Effective Date or (ii) in installment payments over a period of time not to exceed
five years after the Petition Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code.




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       E.      DIP Facility Claims.

                Upon the Effective Date, the DIP Facility Claims shall be deemed to be Allowed
Claims. The DIP Facility Claims shall be paid in full in Cash by the Debtors on the Effective
Date and all commitments under the DIP Facility shall terminate; provided, however, subject to
the satisfaction of the terms and conditions of the Exit Facility Term Sheet, the DIP Facility
Claims may be indefeasibly satisfied by an in-kind exchange on a dollar-for-dollar basis for
obligations of the Reorganized Debtors (and their non-debtor affiliates and guarantors) under the
Exit Facility; provided, however, subject to the terms and conditions of, and to the review
provisions set forth in, the Interim DIP Order or Final DIP Order, any and all DIP Facility
Claims constituting fees and expenses under the DIP Facility shall not be satisfied by the in-kind
exchange and shall rather be deemed to be Allowed Claims and indefeasibly paid in full in Cash
on the Effective Date. The Debtors’ contingent or unliquidated obligations under the DIP
Facility, to the extent not indefeasibly paid in full in Cash on the Effective Date or otherwise
satisfied by the Debtors in a manner acceptable to the DIP Facility Agent, any affected DIP
Facility Lender, or any holder of a DIP Facility Claim, as applicable, shall survive the Effective
Date and shall not be released or discharged pursuant to this Plan or the Confirmation Order,
notwithstanding any provision hereof or thereof to the contrary.

       F.      Payment of Statutory Fees.

               All fees payable on or before the Effective Date pursuant to section 1930 of title
28 of the United States Code shall be paid by the Debtors on or before the Effective Date and all
such fees payable after the Effective Date shall be paid by the applicable Reorganized Debtor.

                                                IV.

                       TREATMENT OF CLASSIFIED CLAIMS AND
                               EQUITY INTERESTS

       A.      Class 1 – Other Priority Claims.

               1.      Classification. Class 1 consists of all Other Priority Claims.

                2.      Treatment. Except to the extent that a holder of an Allowed Other
Priority Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
release, and discharge of and in exchange for each Allowed Other Priority Claim, each such
holder shall be paid, to the extent such Claim has not already been paid during the Chapter 11
Cases, in full in Cash in the ordinary course of business by the Debtors or the Reorganized
Debtors, as applicable, on or as soon as reasonably practicable after the latest of (i) the Effective
Date, (ii) the date on which such Other Priority Claim against the Debtor becomes Allowed, or
(iii) such other date as may be ordered by the Court.

                3.      Impairment and Voting. Class 1 is Unimpaired under this Plan. Holders
of Other Priority Claims in Class 1 are conclusively presumed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code and, therefore, are not entitled to vote to
accept or reject this Plan.



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       B.      Class 2 – Other Secured Claims.

               1.      Classification. Class 2 consists of all Other Secured Claims.

                2.     Treatment. Except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
release, and discharge of and in exchange for each Allowed Other Secured Claim, each such
holder shall be reinstated, or, at the option of the Debtors or the Reorganized Debtors with the
consent of the Supporting Parties and the DIP Agent, each holder of an Allowed Other Secured
Claim shall receive, either (i) Cash in the full amount of such Allowed Other Secured Claim,
including any postpetition interest Allowed pursuant to section 506(b) of the Bankruptcy Code,
(ii) the net proceeds of the sale or disposition of the collateral securing such Allowed Other
Secured Claim to the extent of the value of the holder’s secured interest in such collateral, (iii)
the collateral securing such Allowed Other Secured Claim, or (iv) such other Distribution as
necessary to satisfy the requirements of section 1124 of the Bankruptcy Code on account of such
Allowed Other Secured Claim.

                3.      Impairment and Voting. Class 2 is Unimpaired under this Plan. Holders
of Other Secured Claims in Class 2 are conclusively presumed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code and, therefore, are not entitled to vote to
accept or reject this Plan.

       C.      Class 3 – BOC Claims.

               1.      Classification. Class 3 consists of all BOC Claims.

               2.      Allowance. On the Effective Date, the BOC Claims shall be Allowed in
full without set-off, defense or counterclaim in the aggregate principal amount of not less than
$13,829,080 plus (i) all unreimbursed obligations on account of issued letters of credit and (ii) all
outstanding fees, accrued and unpaid pre- and post-petition interest, expenses and contingent
reimbursement obligations, in each case, pursuant to and as provided in the BOC Credit
Documents.

                3.    Treatment. On the Effective Date except to the extent that BOC agrees to
less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
exchange for the BOC Claims, each holder of a BOC Claim shall receive its Pro Rata share of:

                       a.      on the Effective Date payment of $3,500,000 in cash;

                      b.     payment of $41,666.67 each month for twenty-four (24) months
from and after the Effective Date to be applied to the reduction of the principal portion of the
Allowed BOC Claims;

                     c.      payment of interest only at the rate of 5.00% per annum on the
remaining balance owing to BOC on account of the Allowed BOC Claims after receipt of the
payments pursuant to (a) and (b), above, each month for twenty-four (24) months from and after
the Effective Date;



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                      d.     payment of the remaining portion of the Allowed BOC Claims
representing principal and any other unpaid interest, fees and charges relating thereto that are
part of the Allowed BOC Claims in full in Cash on the first day of the twenty-fourth month after
the Effective Date;

                      e.      payment of the fees and expenses provided for in Article X.B.6;

                       f.     the reinstatement of any letters of credit that remain issued and
outstanding as of the Effective Date on the same terms as the BOC Credit Documents or such
other terms agreed to by BOC and the Debtors;

                      g.     the Liens granted under the BOC Credit Documents shall remain in
place to secure payment of the foregoing items (a) through (f) and shall automatically terminate
upon the indefeasible payment of all such obligations.

       The payments and treatment of the BOC Claims set forth above shall be subject to terms
and conditions set forth in BOC Post-Effective Date Documents the form of which shall be
reasonably acceptable to the Debtors, BOC, and Raven and included in the Plan Supplement.

               4.      Impairment and Voting. Class 3 is Impaired. Holders of the BOC
Claims are entitled to vote to accept or reject this Plan.

       D.      Class 4 – Riesen Funding Claim.

               1.     Classification. Class 4 consists of the Riesen Funding Claim.

               2.     Allowance. On the Effective Date, the Riesen Funding Claims shall be
Allowed in full without set-off, defense or counterclaim in the aggregate principal amount of not
less than $5,130,000 plus all outstanding fees, accrued and unpaid pre- and post-petition interest,
expenses and contingent reimbursement obligations, in each case, pursuant to and as provided in
the promissory note, guarantees and other loan documents governing the Riesen Funding Claims.

                3.     Treatment. On the Effective Date, or as soon thereafter as reasonably
practicable, in full and final satisfaction, settlement, release, and discharge of and in exchange
for such Claim, each holder of a Riesen Funding Claim shall receive a Pro Rata share of the
Equity Interests in the Reorganized Mac Parent. The New Equity Interests will be subject to
dilution if the warrants to acquire 5% of the Equity Interests in Reorganized Mac Parent granted
under the Exit Facility are exercised, with such Equity Interests having the rights and terms
specified in the Exit Facility Documents.

              4.     Impairment and Voting. Class 4 is Impaired under this Plan. Holders of
the Riesen Funding Claim in Class 4 are entitled to vote to accept or reject this Plan.

       E.      Class 5 – General Unsecured Claims.

               1.     Classification. Class 5 consists of all General Unsecured Claims.




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                2.     Treatment. On the Effective Date, or as soon thereafter as reasonably
practicable, except to the extent that a holder of an Allowed General Unsecured Claim agrees to
less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
exchange for such Claim, each holder of an Allowed General Unsecured Claim shall receive:

                    a.     If Class 5 votes in favor of this Plan, its Pro Rata share of the
General Unsecured Claim Cash Pool; or

                    b.     If Class 5 rejects this Plan, no distribution on account of its
Allowed General Unsecured Claim.

             3.     Impairment and Voting. Class 5 is Impaired under this Plan. Holders of
General Unsecured Claims in Class 5 are entitled to vote to accept or reject this Plan.

          F.    Class 6 – Intercompany Claims.

                1.     Classification. Class 6 consists of all Intercompany Claims.

             2.     Treatment. Intercompany Claims shall be reinstated, cancelled or
compromised as determined by the Debtors.

                3.    Impairment and Voting. Class 6 Claims are Unimpaired under this Plan.
Holders of Intercompany Claims are conclusively presumed to have accepted this Plan pursuant
to section 1126(f) of the Bankruptcy Code and, therefore, are not entitled to vote to accept or
reject this Plan.

          G.    Class 7 – Subordinated Claims.

                1.     Classification. Class 7 consists of all Subordinated Claims.

              2.      Treatment. The holders of Subordinated Claims, if any, shall neither
receive Distributions nor retain any property under this Plan for or on account of such
Subordinated Claims.

             3.     Impairment and Voting. Class 7 is Impaired under this Plan. Holders of
Subordinated Claims are deemed to have rejected this Plan pursuant to section 1126(g) of the
Bankruptcy Code and, therefore, are not entitled to vote to accept or reject this Plan.

          H.    Class 8 – Existing Equity Interests.

                1.     Classification. Class 8 consists of all Existing Equity Interests in Mac
Parent.

               2.      Treatment. Existing Equity Interests shall be discharged, cancelled,
released, and extinguished as of the Effective Date and holders of Existing Equity Interests shall
neither receive any Distributions nor retain any property under this Plan for or on account of
such Equity Interests.




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              3.      Impairment and Voting. Class 8 is Impaired under this Plan. Holders of
Existing Equity Interests are deemed to have rejected this Plan pursuant to section 1126(g) of the
Bankruptcy Code and, therefore, are not entitled to vote to accept or reject this Plan.

       I.      Class 9 – Intercompany Interests.

               1.      Classification. Class 9 consists of all Intercompany Interests.

              2.     Treatment. Intercompany Interests shall be cancelled or reinstated, as
determined by the Debtors.

               3.      Impairment and Voting. Class 9 is Unimpaired under this Plan. Holders
of Intercompany Interests are conclusively presumed to have accepted this Plan pursuant to
section 1126(f) of the Bankruptcy Code and, therefore, are not entitled to vote to accept or reject
this Plan.

       J.      Special Provision Governing Claims.

               Except as otherwise provided in this Plan, nothing under this Plan shall affect the
Debtors’ or the Reorganized Debtors’ rights in respect of any Unimpaired Claims, including all
rights in respect of legal and equitable defenses to or setoffs or recoupments against any such
Claims.

       K.      Elimination of Vacant Classes.

                Any Class of Claims or Interests that does not have a holder of an Allowed Claim
or Allowed Interest or Claim or Interest temporarily Allowed by the Court as of the date of the
Confirmation Hearing shall be deemed eliminated from this Plan for purposes of voting to accept
or reject this Plan and for purposes of determining acceptance or rejection of this Plan by such
Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

       L.      Acceptance or Rejection of this Plan.

              1.       Presumed Acceptance. Claims in Classes 1, 2, and 6, and Interests in
Class 9 are Unimpaired under the Plan. The holders of such Claims and Interests are
conclusively presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy
Code and are not entitled to vote to accept or reject this Plan.

                2.      Voting Classes. Claims in Classes 3, 4, and 5 are Impaired under this
Plan and the holders of such Claims are entitled to vote to accept or reject this Plan. If holders of
Claims in a particular Impaired Class of Claims are given the opportunity to vote to accept or
reject the Plan, but no holders of Claims in such Impaired Class of Claims vote to accept or
reject this Plan, then such Class of Claims shall be deemed to have accepted this Plan.

                3.     Deemed Rejection of Plan. Subordinated Claims in Class 7 and Equity
Interests in Class 8 are Impaired, and holders of such Claims and Equity Interests shall receive
no Distributions. The holders in such Classes are deemed to have rejected this Plan pursuant to
section 1126(f) of the Bankruptcy Code and are not entitled to vote to accept or reject this Plan.


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       M.     Nonconsensual Confirmation.

               If less than all Impaired Classes accept this Plan, but at least one (1) Class of
Claims Impaired under this Plan has accepted this Plan (and which Class’s acceptance is
determined without inclusion of Claims of Insiders (as defined in the Bankruptcy Code)), the
Debtors will seek to have the Court confirm this Plan under section 1129(b) of the Bankruptcy
Code.

       N.     Subordinated Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective Distributions and treatments under this Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, sections 510(a) or 510(b) of the Bankruptcy Code
or otherwise.

                                               V.

                PROVISIONS REGARDING ENTITY GOVERNANCE OF
                         THE REORGANIZED DEBTORS

       A.     Cancellation of Existing Equity Interests.

              On the Effective Date, all Existing Equity Interests shall be cancelled in
accordance with this Plan.

       B.     Management of the Reorganized Debtors.

               On the Effective Date, the term of each member of the current boards of directors
or manager of the Debtors shall expire, and the board or manager of each of the Reorganized
Debtors, as well as the officers of each of the Reorganized Debtors, shall consist of those
individuals that will be identified in the Plan Supplement. Following the Effective Date, the
appointment and removal of the members of the board or manager of each of the Reorganized
Debtors shall be governed by the terms of each Reorganized Debtor’s respective entity
governance documents. Raven shall be granted the observation rights set forth in the Exit
Facility Documents from and after the Effective Date.

       C.     Powers of Officers.

               The officers of the Debtors or the Reorganized Debtors, as applicable, shall have
the power to (i) enter into, execute, or deliver any documents or agreements that may be
necessary and appropriate to implement and effectuate the terms of this Plan, and (ii) take any
and all other actions that may be necessary and appropriate to effectuate the terms of this Plan,
including the making of appropriate filings, applications, or recordings, provided that such
documents and agreements are in form and substance acceptable to the DIP Agent and the terms
of the Exit Facility.



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                                                VI.

                  SUBSTANTIVE CONSOLIDATION OF THE DEBTORS

               Solely for purposes of voting on, confirmation of, and Distributions to be made to
holders of Allowed Claims under this Plan, this Plan is predicated upon, and it is a condition
precedent to confirmation of this Plan, that the Court provide in the Confirmation Order for the
limited consolidation of the Estates of the Debtors into a single Estate for purposes of this Plan,
the confirmation hereof and Distributions hereunder.

                Pursuant to the Confirmation Order (i) all assets and liabilities of the consolidated
Debtors will be deemed to be merged solely for purposes of Distributions to be made hereunder,
(ii) the obligations of each Debtor will be deemed to be the obligation of the consolidated
Debtors solely for purposes of Distributions hereunder, (iii) any Claims filed or to be filed in
connection with any such obligations will be deemed Claims against the consolidated Debtors,
(iv) each Claim filed in the Chapter 11 Case of any Debtor will be deemed filed against the
Debtors in the consolidated Chapter 11 Cases in accordance with the limited consolidation of the
assets and liabilities of the Debtors, (v) all transfers, disbursements and Distributions made by
any Debtor hereunder will be deemed to be made by the consolidated Debtors, and (vi) creditors
that hold guarantees from the Debtors of the obligations of any other Debtors shall be allowed a
single Claim against the consolidated Estates and any joint or several liability of any of the
Debtors shall be deemed to be one obligation of the consolidated Debtors. Holders of Allowed
Claims in each Class shall be entitled to their share of assets available for Distribution to such
Class without regard to which Debtor was originally liable for such Claim. Intercompany Claims
shall be treated as provided in Class 6 of this Plan and Intercompany Interests shall be treated as
provided in Class 9 of this Plan.

                Notwithstanding the foregoing, such limited consolidation shall not affect (a) any
aspects, rights, benefits, privileges, liens, security interests, or claims under the BOC
Post-Effective Date Documents, DIP Facility, or Exit Facility or the legal and entity structure of
the Reorganized Debtors, (b) any obligations under any contracts, licenses, or leases that were
entered into during the Chapter 11 Cases or executory contracts or unexpired leases that have
been or will be assumed pursuant to this Plan, (c) distributions from any insurance policies or
proceeds of such policies, (d) the revesting of assets in the separate Reorganized Debtors
pursuant to Article IX.B of this Plan, or (e) guarantees that are required to be maintained post-
Effective Date (i) in connection with executory contracts or unexpired leases that were entered
into during the Chapter 11 Cases or that have been, or will hereunder be, assumed, (ii) pursuant
to the express terms of this Plan, (iii) in connection with the Exit Facility, or (iv) the BOC Non-
Debtor Guarantees. The limited consolidation proposed herein shall not affect each Debtor’s
obligation to file the necessary operating reports and pay any required fees pursuant to 28 U.S.C.
§ 1930(a)(6), which obligation shall continue until a Final Order is entered closing, dismissing or
converting each such Debtor’s Chapter 11 Case.




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                                                VII.

  PROVISIONS REGARDING MEANS OF IMPLEMENTATION, DISTRIBUTIONS,
               AND RESOLUTION OF DISPUTED CLAIMS

       A.      General Settlement of Claims.

               As discussed further in the Disclosure Statement and as otherwise provided
herein, pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the classification, distributions, releases, and other benefits provided under this
Plan, upon the Effective Date, the provisions of this Plan shall constitute a good faith
compromise and settlement of all Claims, Interests and controversies resolved pursuant to this
Plan. Distributions made to holders of Allowed Claims in any Class are intended to be final.

       B.      Exit Financing.

                On the Effective Date, the Exit Facility Documents shall be executed and
delivered by the Reorganized Debtors and Exit Facility Agent and Lenders. Confirmation of this
Plan shall be deemed to constitute approval of the Exit Facility, and the Exit Facility Documents,
and, subject to the occurrence of the Effective Date, authorization for the Reorganized Debtors to
enter into and perform their obligations in connection with the Exit Facility without the need for
any further action.

                 On the Effective Date, the Exit Facility Documents shall constitute legal, valid,
binding, and authorized obligations of the Reorganized Debtors and the non-Debtor parties to the
Exit Facility Documents, enforceable in accordance with their terms.                 The financial
accommodations to be extended pursuant to the Exit Facility Documents are being extended, and
shall be deemed to have been extended, in good faith, for legitimate business purposes, are
reasonable, shall not be subject to avoidance, recharacterization, or subordination (including
equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any
other applicable non-bankruptcy law. On the Effective Date, all of the Liens and security
interests to be granted in accordance with the Exit Facility Documents (1) shall be legal, binding,
and enforceable Liens on, and security interests in, the collateral granted thereunder in
accordance with the terms of the Exit Facility Documents, (2) shall be deemed automatically
perfected on the Effective Date, subject only to such Liens and security interests as may be
permitted under the Exit Facility Documents which include without limitation BOC’s security
interests in the Debtors’ and Reorganized Debtors’ assets and in accordance with an Intercreditor
Agreement to be executed and delivered as part of the Plan Supplement, and (3) shall not be
subject to avoidance, recharacterization, or subordination (including equitable subordination) for
any purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances,
or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the entities granted such Liens and security interests are
authorized to make all filings and recordings, and to obtain all governmental approvals and
consents necessary to establish and perfect such Liens and security interests under the provisions
of the applicable state, provincial, federal, or other law (whether domestic or foreign) that would
be applicable in the absence of this Plan and the Confirmation Order (it being understood that


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perfection shall occur automatically by virtue of the entry of the Confirmation Order, and any
such filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be necessary under
applicable law to give notice of such Liens and security interests to third parties.

       C.      Issuance of New Equity Interests.

               The issuance of New Equity Interests by Reorganized Mac Parent is authorized
without the need for any further entity action or without any further action by a holder of Claims
or Interests. On the Effective Date (or as soon as reasonably practicable thereafter), the New
Equity Interests shall be issued, subject to the provisions of this Plan, Pro Rata to the holders of
the Riesen Funding Claims. The New Equity Interests will be subject to dilution by any equity
in Reorganized Mac Parent issued pursuant to the Exit Facility Documents.

                All of the New Equity Interests issued pursuant to this Plan shall be duly
authorized and validly issued. Each Distribution and issuance referred to in this Article VII shall
be governed by the terms and conditions set forth herein applicable to such Distribution or
issuance and by the terms and conditions of the instruments evidencing or relating to such
Distribution or issuance, including the Reorganized Mac Parent Operating Agreement, which
terms and conditions shall bind each Person receiving such Distribution or issuance. Upon the
Effective Date, the Reorganized Mac Parent Operating Agreement shall be deemed to become
valid, binding and enforceable in accordance with its terms, and each holder of New Equity
Interests shall be bound thereby, in each case, without need for execution by any party thereto
other than Reorganized Mac Parent.

       D.      Avoidance Actions.

               On the Effective Date, the Reorganized Debtors shall retain the exclusive right to
commence, prosecute, or settle all Causes of Action, including Avoidance Actions, as
appropriate in accordance with the best interests of the Reorganized Debtors subject to the
releases and exculpations contained in this Plan, the Interim DIP Order, the Final DIP Order, and
the DIP Credit Agreement.

       E.      Restructuring Transactions.

                 On the Effective Date or as soon as reasonably practicable thereafter, the
Reorganized Debtors (to the extent permitted under the Exit Facility) may modify their entity
structure by eliminating certain entities and may take all actions as may be necessary or
appropriate to effect such transactions, including any transaction described in, approved by,
contemplated by, or necessary to effectuate this Plan, including: (i) the execution and delivery of
appropriate agreements or other documents of merger, consolidation, restructuring, conversion,
disposition, transfer, dissolution or liquidation containing terms that are consistent with the terms
of this Plan and that satisfy the applicable requirements of applicable law and any other terms to
which the applicable entities may agree; (ii) the execution and delivery of appropriate
instruments of transfer, assignment, assumption or delegation of any asset, property, right,
liability, debt or obligation on terms consistent with the terms of this Plan and having other terms
to which the applicable parties may agree; (iii) the filing of appropriate certificates or articles of



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incorporation, reincorporation, merger, consolidation, conversion (including related formation)
or dissolution pursuant to applicable state law; and (iv) all other actions that the applicable
entities determine to be necessary or appropriate, including making filings or recordings that may
be required by applicable law.

       F.      Approval and Authorization of Corporate and Company Action.

                Upon the Effective Date, all corporate and limited liability company actions
contemplated by this Plan shall be deemed authorized and approved in all respects, including
(i) the transactions contemplated by Article VII.C and E hereof, (ii) the adoption and filing of
appropriate certificates or articles of incorporation, formation, association, reincorporation,
merger, consolidation, conversion, or dissolution, and memoranda and amendments thereto,
pursuant to applicable law, (iii) the initial selection of managers, directors and officers for the
Reorganized Debtors, (iv) the Distributions pursuant to this Plan, (v) the execution and entry into
the Exit Facility, and (vi) all other actions contemplated by this Plan (whether to occur before,
on, or after the Effective Date), in each case unless otherwise provided in this Plan. All matters
provided for under this Plan involving the entity structure of the Debtors and Reorganized
Debtors or corporate and company action to be taken by or required of a Debtor or a
Reorganized Debtor will be deemed to occur and be effective as of the Effective Date, if no such
other date is specified in such documents, and shall be authorized, approved, adopted and, to the
extent taken prior to the Effective Date, ratified and confirmed in all respects and for all purposes
without any requirement of further action by holders of Claims or Interests, directors of the
Debtors or the Reorganized Debtors, as applicable, or any other Person, except to effect the filing
of any new entity governance documents respecting the Debtors, as necessary.

       G.      Effectuating Documents; Further Transactions.

                On and after the Effective Date, the Reorganized Debtors, their managers, and the
officers and directors of the boards of directors thereof, are authorized to and may issue, execute,
deliver, file or record such contracts, securities, instruments, releases, and other agreements or
documents and take such actions as may be necessary or appropriate to effectuate, implement,
and further evidence the terms and conditions of this Plan and the securities issued pursuant to
this Plan in the name of and on behalf of the Reorganized Debtors, without need for any
approvals, authorization, or consents except for those expressly required pursuant to this Plan
and applicable non-bankruptcy law.

       H.      Reorganized Debtor Operating Agreements

               Pursuant to section 1123(a)(6) of the Bankruptcy Code, the Reorganized Mac
Parent Operating Agreement and the operating agreements for the other Debtors will prohibit the
issuance of non-voting equity securities. After the Effective Date, Reorganized Mac Parent and
the other Reorganized Debtors may amend and restate their respective operating agreements as
permitted by the laws of Delaware, and any related governance documents. The Reorganized
Mac Parent Operating Agreement and operating agreements for the other Reorganized Debtors
shall be substantially in the form set forth in the Plan Supplement.




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       I.      Cancellation of Securities and Agreements.

                 On the Effective Date, except as otherwise specifically provided for in this Plan,
including as provided for in Articles III.C.3, IV.C., and IX.L hereof: (1) the obligations of the
Debtors under their prepetition credit agreements and loan documents, and any other certificate,
share, note, bond, indenture, purchase right, option, warrant, or other instrument or document
directly or indirectly evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtors giving rise to any Claim or Equity Interest (except such certificates, notes,
or other instruments or documents evidencing indebtedness or obligations of the Debtors that are
specifically reinstated pursuant to this Plan), shall be cancelled solely as to the Debtors, and the
Reorganized Debtors shall not have any continuing obligations thereunder; and (2) the
obligations of the Debtors pursuant, relating, or pertaining to any agreements, indentures,
certificates of designation, bylaws, or certificate or articles of incorporation or similar documents
governing the membership interests, certificates, notes, bonds, indentures, purchase rights,
options, warrants, or other instruments or documents evidencing or creating any indebtedness or
obligation of the Debtors (except such agreements, certificates, notes, or other instruments
evidencing indebtedness or obligations of the Debtors that are specifically reinstated pursuant to
this Plan) shall be released and discharged; provided, however, notwithstanding confirmation of
this Plan or the occurrence of the Effective Date, any agreement that governs the rights of the
holder of a Claim shall continue in effect solely for purposes of allowing holders to receive
Distributions under this Plan as provided herein.

       J.      Distributions in Respect of Allowed Claims.

                1.     Record Date for Distributions. As of the close of business on the
Record Date, the various transfer registers for each of the Classes of Claims or Equity Interests
as maintained by the Debtors or their respective agents shall be deemed closed, and there shall be
no further changes made to reflect any new record holders of any Claims or Equity Interests
occurring on or after the Record Date. The Debtors and the Reorganized Debtors shall have no
obligation to recognize any transfer of any Claims or Equity Interests occurring after the Record
Date.

               2.     Date of Distributions. Except as otherwise provided herein, Distributions
and deliveries under this Plan with respect to Allowed Claims shall be made before the close of
business on or as soon as reasonably practicable after the Effective Date. In the event that any
payment or act under this Plan is required to be made or performed on a date that is not a
Business Day, the making of such payment or the performance of such act may be completed on
or as soon as reasonably practicable after the next succeeding Business Day, but shall be deemed
to have been completed as of the required date.

               3.      Disbursing Agent. Except as otherwise provided herein, all Distributions
under this Plan shall be made by the Reorganized Debtors as Disbursing Agent or such other
Entity (as defined in section 101(15) of the Bankruptcy Code) designated by the Reorganized
Debtors to assist the Disbursing Agent on the Effective Date. If the Disbursing Agent is an
independent third party designated by the Reorganized Debtors to serve in such capacity, such
Disbursing Agent shall receive, without further Court approval, reasonable compensation for
distribution services rendered pursuant to this Plan and reimbursement of reasonable out-of-


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pocket expenses incurred in connection with such services from the Reorganized Debtors on
terms acceptable to the Reorganized Debtors. No Disbursing Agent shall be required to give any
bond or surety or other security for the performance of its duties unless otherwise ordered by the
Court. If otherwise so ordered, all costs and expenses of procuring any such bond or surety shall
be borne by the Reorganized Debtors.

                 4.      Powers of Disbursing Agent. The Disbursing Agent shall be empowered
to (i) effect all actions and execute all agreements, instruments, and other documents necessary
to perform its duties hereunder, (ii) make all Distributions contemplated hereby, and (iii)
exercise such other powers as may be vested in the Disbursing Agent by Final Order of the Court
or pursuant to this Plan.

               5.     Delivery of Distributions.

               Except as otherwise provided herein, the Disbursing Agent shall make
Distributions to holders of Allowed Claims at the address for each holder indicated on the
Debtors’ records as of the date of any such Distribution unless such addresses are superseded by
Proofs of Claim or transfers of Claim filed pursuant to Bankruptcy Rule 3001 by the Record
Date. If any Distribution to a holder of a Claim is returned as undeliverable, no further
Distributions shall be made unless and until the Disbursing Agent is notified of the then-current
address of such holder of the Claim, at which time all missed distributions shall be made to such
holder of the Claim without interest. Amounts in respect of undeliverable distributions shall be
returned to the Reorganized Debtors until such Distributions are claimed. The Reorganized
Debtors shall make reasonable efforts to locate holders of undeliverable Distributions.

               Except as otherwise provided herein, all Distributions to holders of DIP Facility
Claims shall be governed by the DIP Credit Agreement.

               6.     Distribution of Cash. Any payment of Cash by the Reorganized Debtors
pursuant to this Plan shall be made at the option and in the sole discretion of the Reorganized
Debtors by (i) a check drawn on or (ii) wire transfer from, a U.S. domestic bank selected by the
Reorganized Debtors; provided that, any Cash paid to Raven or BOC shall be made by wire
transfer.

               7.      Unclaimed Distributions. Any Distribution under this Plan that is
unclaimed six (6) months after the Disbursing Agent has delivered (or has attempted to deliver)
such Distribution shall become the property of the Reorganized Debtor against which such Claim
was Allowed notwithstanding any federal or state escheat, abandoned or unclaimed property
laws to the contrary, and the entitlement by the holder of such unclaimed Allowed Claim to such
Distribution or any subsequent Distribution on account of such Allowed Claim shall be
discharged and forever barred.

               8.     De Minimis Distributions.

               The Debtors or the Reorganized Debtors, as the case may be, shall not be required
to, but may in their discretion, make distributions to any holder of a Claim of Cash in an amount
less than twenty-five dollars ($25). In addition, the Debtors and the Reorganized Debtors shall



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not be required to, but may in their discretion, make any payment on account of any Claim in the
event that the costs of making such payment exceeds the amount of such payment.

               9.      Interest on Claims. Except as expressly provided for in this Plan, the
Confirmation Order or any contract, instrument, release, settlement or other agreement entered
into in connection with this Plan, or as required by applicable bankruptcy law, including sections
511 and 1129(a)(9)(C)-(D) of the Bankruptcy Code, post-Petition Date interest shall not be
treated as accruing in respect of any Claim for purposes of determining the allowance of, and
Distribution for or on account of, such Claim.

                10.     Withholding and Reporting Requirements. In connection with this
Plan and all instruments issued in connection therewith, the Disbursing Agent shall comply with
all applicable withholding and reporting requirements imposed by any federal, state or local
taxing authority, and all Distributions under this Plan shall be subject to any such withholding or
reporting requirements. Any holder of an Allowed Claim shall provide the Disbursing Agent
with information and forms required to satisfy its obligations under this subsection, as
determined within the reasonable discretion of the Disbursing Agent (“Required Tax Forms”);
and holder of an Allowed Claim that fails to provide the Disbursing Agent with Required Tax
Forms within forty-five (45) days (or any longer period consented to by the Disbursing Agent in
writing) after a written request from the Disbursing Agent for Required Tax Forms shall have all
Distributions on account of such Allowed Claims deemed an Unclaimed Distribution as of the
expiration of such period and shall have its Allowed Claim treated in accordance with Article
VII.J.7 of the Plan.

               11.    Setoffs. Except as otherwise expressly provided in this Plan (including,
without limitation, subject to the releases and exculpations contained in this Plan, the Interim
DIP Order, the Final DIP Order, and the DIP Credit Agreement), the Debtors and the
Reorganized Debtors, as applicable, may, but shall not be required to, set off against any Claim
(for purposes of determining the Allowed amount of such Claim on which Distribution shall be
made), any claims of any nature whatsoever that the Debtors or the Reorganized Debtors may
have against the holder of such Claim, but neither the failure to do so nor the allowance of any
Claim hereunder shall constitute a waiver or release by the Debtors or the Reorganized Debtors
of any such claim the Debtors or the Reorganized Debtors may have against the holder of such
Claim. Nothing in this Plan shall be deemed to expand rights to setoff under applicable non-
bankruptcy law.

                 12.     Allocation of Consideration. To the extent that any Allowed Claim
entitled to a Distribution under this Plan is comprised of indebtedness and, accrued but unpaid
interest thereon, the consideration distributed to the holder of such Allowed Claim shall be
treated as first satisfying the principal amount of such Claim (as determined for federal income
tax purposes), and any remaining consideration shall be treated as satisfying accrued but unpaid
interest.

       K.      Resolution of Disputed Claims.

             1.     Objections to Claims.        From and after the Effective Date, the
Reorganized Debtors shall have the right to object to any and all Claims that have not been


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previously Allowed. Any objections to Claims shall be filed and served on or before the later of
(i) one hundred and eighty (180) days after the Effective Date, and (ii) such later date as may be
fixed by the Court upon a motion by the Reorganized Debtors without notice to any party or a
hearing, which later date may be fixed before or after the date specified in clause (i) above. No
objection shall be required with respect to a Proof of Claim filed after the applicable Bar Date,
and any and all such Claims shall be deemed disallowed unless otherwise ordered by the Court
after notice and a hearing. Objections to Professional Fee Claims shall be filed and served in
accordance with Article III.B.

                2.     Settlement of Claims. Notwithstanding the requirements that may be
imposed pursuant to Bankruptcy Rule 9019, from and after the Effective Date, the Reorganized
Debtors shall have the authority to settle or compromise any claim or objections or proceedings
relating to the allowance of Claims as and to the extent deemed prudent and reasonable without
further review or approval of the Court and without the need to file a formal objection. Nothing
in this Article VII.K shall be deemed to affect or modify the applicable Bar Dates previously
established in the Chapter 11 Cases.

               3.      No Distributions Pending Allowance. Notwithstanding any other
provision hereof, if any portion of a Claim is a Disputed Claim, no payment or Distribution
provided hereunder shall be made on account of the disputed portion of such Claim until the
disputed portion of such Claim becomes an Allowed Claim.

               4.      General Unsecured Claim Cash Pool. If Class 5 votes to accept the
Plan, on the Effective Date or as soon as practicable thereafter, the Reorganized Debtors shall
establish the General Unsecured Claim Cash Pool. Cash held in the General Unsecured Claim
Cash Pool shall be held by the Reorganized Debtors in trust for the benefit of holders of Allowed
General Unsecured Claims. Cash held in the General Unsecured Claim Cash Pool shall not
constitute property of the Reorganized Debtors. Each holder of a Disputed General Unsecured
Claim that becomes an Allowed General Unsecured Claim shall have recourse only to the
undistributed Cash in the General Unsecured Claim Cash Pool for satisfaction of such Allowed
General Unsecured Claim and not to any Reorganized Debtor.

                5.     Distributions after Allowance. In the event that a Disputed Claim
becomes an Allowed Claim, the Disbursing Agent shall distribute to the holder of such Claim
such holder’s Pro Rata portion of the property distributable with respect to the Class in which
such Claim is classified herein. To the extent that all or a portion of a Disputed Claim is
disallowed, the holder of such Claim shall not receive any Distributions on account of the portion
of such Claim that is disallowed and any property withheld pending the resolution of such Claim
shall be reallocated Pro Rata to the holders of Allowed Claims in the same Class. Nothing set
forth herein is intended to, nor shall it, prohibit the Reorganized Debtors, in their sole discretion,
from making a Distribution on account of any Claim at any time after such Claim becomes an
Allowed Claim. Notwithstanding anything to the contrary in this Plan, no distributions shall be
made from the General Unsecured Claim Cash Pool until all Disputed General Unsecured
Claims are resolved and either become Allowed or disallowed by Final Order or estimated by
Final Order for purposes of distribution.




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              6.      Interest on Disputed Claims. Unless otherwise specifically provided for
in this Plan or as otherwise required by sections 506(b), 511 or 1129(a)(9)(C)-(D) of the
Bankruptcy Code, interest shall not accrue or be paid on any Disputed Claim in respect of the
period from the Effective Date to the date a final Distribution is made when and if such Disputed
Claim becomes and Allowed Claim.

               7.     Estimation of Claims. The Debtors or the Reorganized Debtors may at
any time request that the Court estimate any Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code or other applicable law regardless of whether the Debtors or the Reorganized
Debtors have previously objected to such Claim or whether the Court has ruled on any such
objection. The Court will retain jurisdiction to estimate any Claim at any time during the
pendency of litigation concerning any objection to any Claim, including during the pendency of
any appeal relating to any such objection. In the event that the Court estimates any Disputed
Claim, such estimated amount shall constitute either (a) the Allowed amount of such Claim, (b)
the amount on which a reserve is to be calculated for purposes of any reserve requirement to this
Plan or (c) a maximum limitation on such Claim, as determined by the Court. If the estimated
amount constitutes a maximum limitation on such Claim, the Debtors or the Reorganized
Debtors, as applicable, may pursue supplementary proceedings to object to the allowance of such
Claim. Claims may be estimated and subsequently compromised, settled, withdrawn or resolved
by any mechanism approved by the Court.

                                             VIII.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.     Assumption and Rejection of Executory Contracts and Unexpired Leases.

                 Except as otherwise provided herein or in any contract, instrument, release,
indenture or other agreement or document entered into in connection with this Plan, as of the
Effective Date, all executory contracts and unexpired leases governed by section 365 of the
Bankruptcy Code to which any of the Debtors are parties are hereby rejected except for any
executory contract or unexpired lease that (i) previously has been assumed or rejected by the
Debtors in the Chapter 11 Cases, (ii) previously expired or terminated pursuant to its own terms;
(iii) is specifically identified on the Schedule of Assumed Contracts and Leases, or (iv) is the
subject of a separate motion to assume or reject such executory contract or unexpired lease filed
by the Debtors under section 365 of the Bankruptcy Code prior to the Effective Date. The
Debtors reserve the right to amend the Schedule of Assumed Contracts and Leases at any time
prior to the Effective Date, subject to the consent of the Supporting Parties and the DIP Agent.

       B.     Cure; Effect of Payment of Cure.

               Except to the extent that different treatment has been agreed to by the non-Debtor
party or parties to any executory contract or unexpired lease to be assumed pursuant to Article
VIII.A hereof, not less than fifteen (15) Business Days prior to the Confirmation Hearing, the
Debtors shall, pursuant to the provisions of sections 1123(a)(5)(G) and 1123(b)(2) of the
Bankruptcy Code, and consistent with the requirements of section 365 of the Bankruptcy Code,
file and serve a notice with the Court listing the cure amounts of all executory contracts or


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unexpired leases to be assumed. The parties to such executory contracts or unexpired leases to
be assumed by the Debtors shall have ten (10) Business Days from service of such pleading to
object to the cure amounts listed by the Debtors. If there are any objections filed with respect
thereto, the Court shall conduct a hearing to consider such cure amounts and any objections
thereto. The Debtors shall retain their right to reject any of their executory contracts or
unexpired leases, including any executory contracts or leases that are subject to a dispute
concerning amounts necessary to cure any defaults. Payment of the cure amounts fixed in
accordance with this paragraph shall be paid by the Debtors or Reorganized Debtors, as the case
may be, as a condition to assumption of the underlying contracts and unexpired leases pursuant
to the terms of the Plan. Such amount shall be paid on, or as soon as reasonably practicable
after, the Effective Date, except that any cure amount that is disputed as of the Effective Date
shall be paid as soon as reasonably practicable after the resolution of such dispute.

               Assumption of any executory contract or unexpired lease pursuant to the Plan, or
otherwise, shall result in the full release and satisfaction of any Claims or defaults whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
executory contract or unexpired lease at any time on or before the Effective Date. Any proofs of
Claim filed with respect to an executory contract or unexpired lease that has been assumed shall
be deemed disallowed and expunged, without further notice to or action, order or approval of the
Bankruptcy Court or any other entity, upon the deemed assumption of such contract or unexpired
lease.

       C.      Rejection Damage Claims.

                Any and all Claims for damages arising from the rejection of an executory
contract or unexpired lease under the Plan must be filed with the Court in accordance with the
terms of the Final Order authorizing such rejection, but in no event later than thirty (30) days
after the Effective Date to the extent an earlier time has not been established by the Court. Any
Claim for damages arising from the rejection of an executory contract or unexpired lease
pursuant to an order entered prior to the Bar Date will be governed by the order authorizing such
rejection and will not be extended by this Plan or the Confirmation Order. Any Claims for
damages arising from the rejection of an executory contract or unexpired lease that is not filed
within such time period will be forever barred from assertion against the Debtors, their
respective Estates and the Reorganized Debtors. All Allowed Claims arising from the rejection
of executory contracts or unexpired leases shall be treated as General Unsecured Claims.

       D.      Restrictions on Assignment Void.

               Any executory contract or unexpired lease assumed or assumed and assigned shall
remain in full force and effect to the benefit of the transferee or assignee in accordance with its
terms, notwithstanding any provision in such executory contract or unexpired lease (including
those of the type described in section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts,
or conditions such transfer or assignment, including based on any change of control provision.
Any provision that prohibits, restricts, or conditions the assignment or transfer of any such
executory contract or unexpired lease, terminates or modifies such executory contract or
unexpired lease or allows the counterparty to such executory contract or unexpired lease to


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terminate, modify, recapture, impose any penalty, condition renewal or extension, or modify any
term or condition thereof (including on account of any change of control provision) on any such
transfer or assignment, constitutes an unenforceable anti-assignment provision and is void and of
no force or effect.

               No sections or provisions of any executory contract or unexpired lease that
purport to provide for additional payments, penalties, charges, rent acceleration, or other
financial accommodations in favor of the non-debtor third party thereto shall have any force and
effect with respect to the transactions contemplated hereunder, and such provisions constitute
unenforceable anti-assignment provisions under section 365(f) of the Bankruptcy Code and are
otherwise unenforceable under section 365(e) of the Bankruptcy Code.

       E.      Benefit Plans.

               As of and subject to the Effective Date, all employment agreements and policies,
and all employee compensation and benefit plans, policies, and programs of the Debtors
applicable generally to their employees, including agreements and programs subject to section
1114 of the Bankruptcy Code, as in effect on the Effective Date, including all savings plans,
retirement plans, health care plans, disability plans, incentive plans, and life, accidental death,
and dismemberment insurance plans, and senior executive retirement plans, but expressly
excluding any nonqualified deferred compensation plans that are treated as unfunded plan for tax
purposes and Title I of ERISA, shall be deemed to be, and shall be treated as though they are,
executory contracts that are assumed under this Plan, and the Debtors’ obligations under all such
agreements and programs shall survive the Effective Date of this Plan, without prejudice to the
Reorganized Debtors’ rights under applicable nonbankruptcy law to modify, amend, or terminate
the foregoing arrangements in accordance with the terms and provisions thereof, except for (i)
such executory contracts or plans specifically rejected pursuant to this Plan (to the extent such
rejection does not violate section 1114 of the Bankruptcy Code), and (ii) such executory
contracts or plans as have previously been terminated, or rejected, pursuant to a Final Order, or
specifically waived by the beneficiaries of such plans, benefits, contracts, or programs.

       F.      Workers’ Compensation and Insurance Programs.

               All (i) applicable workers’ compensation laws in states in which the Reorganized
Debtors operate and (ii) of the Debtors’ written contracts, agreements, agreements of indemnity,
self-insurer workers’ compensation bonds and any other policies, programs and plans regarding
or relating to workers’ compensation, workers’ compensation insurance, and all other forms of
insurance, unless specified in the Plan Supplement, are treated as executory contracts under this
Plan and on the Effective Date will be assumed pursuant to the provisions of sections 365 and
1123 of the Bankruptcy Code, with a cure amount of zero dollars.




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                                                IX.

                      EFFECT OF CONFIRMATION OF THIS PLAN

       A.      Continued Entity Existence.

               Except as otherwise provided herein, including as provided with respect to
Reorganized Mac Parent in Article V.B hereof, or as may be provided in the Confirmation Order,
each Debtor will, as a Reorganized Debtor, continue to exist after the Effective Date as a
separate corporate entity, or limited liability company, as the case may be, with all the powers
thereof, pursuant to the applicable law in the jurisdiction in which each applicable Reorganized
Debtor is incorporated or formed and pursuant to the entity organizational documents in effect
prior to the Effective Date, except to the extent such other entity organizational documents are
amended by the Plan and to the extent such documents are amended, such documents are deemed
to be amended pursuant to the Plan and require no further action or approval.

       B.      Vesting of Assets.

               Except as otherwise provided in this Plan or any agreement, instrument, or other
document incorporated herein, on the Effective Date all property in each Estate, all Causes of
Action, and any other property acquired by any of the Debtors pursuant to this Plan shall vest in
each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
encumbrances (except for Liens granted to secure the Exit Facility, any Liens securing the BOC
Claim, and any Liens applicable to any capitalized leases existing on the Effective Date). On
and after the Effective Date, except as otherwise provided in this Plan, each Reorganized Debtor
may operate its business and conduct its affairs, and may use, acquire, or dispose of its property
and assets and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Court and free of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules.

       C.      Preservation of Causes of Action.

                Subject to the releases and exculpations set forth in the Plan, the Interim DIP
Order, the Final DIP Order, and the DIP Credit Agreement, in accordance with section
1123(b)(3) of the Bankruptcy Code, the Debtors and the Reorganized Debtors shall retain all
Litigation Rights, and nothing contained in this Plan or the Confirmation Order shall be deemed
to be a waiver or relinquishment of any such Litigation Rights. The Debtors may (but are not
required to) enforce all Litigation Rights and all other similar claims arising under applicable
state laws, including fraudulent transfer claims, if any, and all other Causes of Action of a trustee
and debtor-in-possession under the Bankruptcy Code. Except as otherwise set forth in this Plan,
the Reorganized Debtors, as applicable, in their sole and absolute discretion, shall determine
whether to bring, settle, release, compromise, or enforce any such Litigation Rights (or decline to
do any of the foregoing), and shall not be required to seek further approval of the Court for such
action. Except as otherwise set forth in this Plan, the Debtors, the Reorganized Debtors, or any
successors thereof may pursue such Litigation Rights in accordance with the best interests of the
Reorganized Debtors or any successors holding such rights of action.




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       D.      Discharge of the Debtors.

                 Pursuant to section 1141(d) of the Bankruptcy Code, except as otherwise
specifically provided in this Plan or in the Confirmation Order, the Distributions and rights that
are provided in this Plan shall be in complete satisfaction, discharge and release, effective as of
the Effective Date, of any and all Claims and Causes of Action (whether known or unknown)
against, liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any
of their assets or properties, regardless of whether any property or assets shall have been
distributed or retained pursuant to this Plan on account of such Claims, rights, and Interests,
including Claims and Interests that arose before the Effective Date, any liability (including
withdrawal liability to the extent such Claims relate to services performed by employees of the
Debtors prior to the Petition Date and that arise from a termination of employment or a
termination of any employee or retiree benefit program which occurred prior to the Effective
Date), and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy
Code, in each case whether or not (a) a Proof of Claim or Interest based upon such Claim, debt,
right, or Interest was filed, is filed, or deemed filed under section 501 of the Bankruptcy Code,
(b) a Claim or Interests based upon such Claim, debt, right, or Interest is Allowed under section
502 of the Bankruptcy Code, or (c) the holder of such a Claim, right, or Interest accepted this
Plan. The Confirmation Order shall be a judicial determination of the discharge of all Claims
against and Interests in the Debtors, subject to the terms thereof and the occurrence of the
Effective Date. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
PLAN OR OTHERWISE, NOTHING IN THE PLAN SHALL IMPAIR, ALTER OR IN
ANY WAY AFFECT ANY OF THE RIGHTS OR REMEDIES OF BOC AGAINST THE
NON-DEBTOR BOC GUARANTORS.

       E.      Releases by the Debtors of Certain Parties.

          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
PURSUANT TO SECTION 1123(B)(3) OF THE BANKRUPTCY CODE, FOR GOOD
AND VALUABLE CONSIDERATION, INCLUDING THE ACTIONS OF THE
RELEASED PARTIES TO FACILITATE THE REORGANIZATION OF THE
DEBTORS AND THE IMPLEMENTATION OF THE RESTRUCTURING
CONTEMPLATED BY THE PLAN, EFFECTIVE AS OF THE EFFECTIVE DATE,
EACH DEBTOR, IN ITS INDIVIDUAL CAPACITY AND AS A DEBTOR IN
POSSESSION FOR ITSELF AND ON BEHALF OF ITS ESTATE, AND ANY PERSON
CLAIMING THROUGH, ON BEHALF OF, OR FOR THE BENEFIT OF EACH
DEBTOR AND ITS ESTATE, SHALL RELEASE AND DISCHARGE AND BE DEEMED
TO    HAVE     CONCLUSIVELY,     ABSOLUTELY,    UNCONDITIONALLY,
IRREVOCABLY, AND FOREVER RELEASED AND DISCHARGED ALL RELEASED
PARTIES FOR AND FROM ANY AND ALL CLAIMS OR CAUSES OF ACTION
EXISTING AS OF THE EFFECTIVE DATE OR THEREAFTER WHETHER KNOWN
OR UNKNOWN, FORESEEN OR UNFORESEEN, ARISING FROM OR RELATED TO
ANY ACTIONS, TRANSACTIONS, EVENTS OR OMISSIONS OCCURRING ON OR
BEFORE THE EFFECTIVE DATE RELATING TO THE DEBTORS, THE
CHAPTER 11 CASES, THE DIP FACILITY, OR THE CREDIT AGREEMENT;
PROVIDED, HOWEVER, THE FOREGOING RELEASE SHALL NOT APPLY TO ANY
POST-EFFECTIVE DATE OBLIGATIONS ARISING UNDER THE PLAN OR ANY


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DOCUMENT, INSTRUMENT OR AGREEMENT (INCLUDING THOSE SET FORTH
IN THE PLAN SUPPLEMENT AND THE EXIT FACILITY) EXECUTED TO
IMPLEMENT THE PLAN. THE REORGANIZED DEBTORS SHALL BE BOUND, TO
THE SAME EXTENT THAT THE DEBTORS ARE BOUND, BY THE RELEASES AND
DISCHARGES SET FORTH ABOVE.

     F.    Releases by Non-Debtors.

           EXCEPT WHERE A HOLDER OF A CLAIM OR EQUITY INTEREST
HAS AFFIRMATIVELY OPTED-OUT OF GRANTING THE RELEASES SET FORTH
IN THIS ARTICLE IX.F. EITHER (i) BY TIMELY ELECTING NOT TO GRANT THIS
RELEASE IN ITS BALLOT OR (ii) BY FILING AN OBJECTION WITH THE
BANKRUPTCY COURT TO THIS RELEASE BY THE INITIAL DEADLINE TO
OBJECT TO THE PLAN SET FORTH IN THE CONFIRMATION ORDER, TO THE
MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, FOR GOOD AND
VALUABLE CONSIDERATION, INCLUDING THE ACTIONS OF THE RELEASED
PARTIES TO FACILITATE THE REORGANIZATION OF THE DEBTORS AND THE
IMPLEMENTATION OF THE RESTRUCTURING CONTEMPLATED BY THE PLAN,
ON THE EFFECTIVE DATE, EACH PERSON WHO DIRECTLY OR INDIRECTLY,
HAS HELD, HOLDS, OR MAY HOLD ANY CLAIM AGAINST THE DEBTORS OR
INTEREST IN THE DEBTORS SHALL RELEASE AND DISCHARGE AND BE
DEEMED TO HAVE CONCLUSIVELY, ABSOLUTELY, UNCONDITIONALLY,
IRREVOCABLY, AND FOREVER RELEASED AND DISCHARGED ALL RELEASED
PARTIES FOR AND FROM ANY AND ALL CLAIMS OR CAUSES OF ACTION
EXISTING AS OF THE EFFECTIVE DATE OR THEREAFTER WHETHER KNOWN
OR UNKNOWN, FORESEEN OR UNFORESEEN, ARISING FROM OR RELATED TO
ANY ACTIONS, TRANSACTIONS, EVENTS OR OMISSIONS OCCURRING ON OR
BEFORE THE EFFECTIVE DATE RELATING TO THE DEBTORS, THE CHAPTER
11 CASES OR THE OBLIGATIONS UNDER THE DIP FACILITY AND THE CREDIT
AGREEMENT; PROVIDED, HOWEVER, THE FOREGOING RELEASE SHALL NOT
APPLY TO (A) THE OBLIGATIONS OF THE BOC NON-DEBTOR GUARANTORS
UNDER THE BOC NON-DEBTOR GUARANTEES OR (B) POST-EFFECTIVE DATE
OBLIGATIONS ARISING UNDER THE PLAN OR ANY DOCUMENT, INSTRUMENT
OR AGREEMENT (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT
AND THE EXIT FACILITY) EXECUTED TO IMPLEMENT THE PLAN.

     G.    Exculpation.

          EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN THIS PLAN,
THE PLAN SUPPLEMENT OR RELATED DOCUMENTS, NO EXCULPATED PARTY
SHALL HAVE OR INCUR ANY LIABILITY TO ANY ENTITY FOR ANY
PREPETITION OR POSTPETITION ACT TAKEN OR OMITTED TO BE TAKEN IN
CONNECTION WITH, OR RELATED TO, OR ARISING OUT OF THE CHAPTER 11
CASES, THE FILING OF THE CHAPTER 11 CASES, THE FORMULATION,
PREPARATION, NEGOTIATION, DISSEMINATION, FILING, IMPLEMENTATION,
ADMINISTRATION, CONFIRMATION, OR CONSUMMATION OF THIS PLAN, THE
DISCLOSURE STATEMENT, THE EXHIBITS TO THIS PLAN AND THE


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DISCLOSURE STATEMENT, THE PLAN SUPPLEMENT DOCUMENTS, ANY
EMPLOYEE BENEFIT PLAN, INSTRUMENT, RELEASE OR OTHER AGREEMENT
OR DOCUMENT CREATED, MODIFIED, AMENDED OR ENTERED INTO IN
CONNECTION WITH THIS PLAN, EXCEPT FOR THEIR WILLFUL MISCONDUCT
OR GROSS NEGLIGENCE AS DETERMINED BY A FINAL ORDER AND EXCEPT
WITH RESPECT TO OBLIGATIONS ARISING UNDER CONFIDENTIALITY
AGREEMENTS, JOINT INTEREST AGREEMENTS, OR PROTECTIVE ORDERS, IF
ANY, ENTERED DURING THE CHAPTER 11 CASES; PROVIDED, HOWEVER,
THAT EACH EXCULPATED PARTY SHALL BE ENTITLED TO RELY UPON THE
ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO, OR IN CONNECTION WITH, THE ABOVE
REFERENCED DOCUMENTS, ACTIONS, OR INACTIONS.

    H.    Injunction.

          THE SATISFACTION, RELEASE, AND DISCHARGE PURSUANT TO
THIS ARTICLE IX SHALL ACT AS A PERMANENT INJUNCTION AGAINST ANY
ENTITY COMMENCING OR CONTINUING ANY ACTION, EMPLOYMENT OF
PROCESS, OR ACT TO COLLECT, OFFSET OR RECOVER ANY CLAIM,
INTEREST, OR CAUSE OF ACTION SATISFIED, RELEASED, OR DISCHARGED
UNDER THIS PLAN TO THE FULLEST EXTENT AUTHORIZED OR PROVIDED BY
THE BANKRUPTCY CODE, INCLUDING TO THE EXTENT PROVIDED FOR OR
AUTHORIZED BY SECTIONS 524 OR 1141 OF THE BANKRUPTCY CODE.

          WITHOUT LIMITING THE FOREGOING, FROM AND AFTER THE
EFFECTIVE DATE, ALL ENTITIES THAT HAVE HELD, HOLD, OR MAY HOLD
CLAIMS AND INTERESTS THAT HAVE BEEN RELEASED OR DISCHARGED
PURSUANT TO THIS ARTICLE IX, OR ARE SUBJECT TO EXCULPATION
PURSUANT TO THIS ARTICLE IX, SHALL BE PERMANENTLY ENJOINED FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES, OR THE
EXCULPATED PARTIES: (A) COMMENCING OR CONTINUING IN ANY MANNER
ANY SUIT, ACTION OR OTHER PROCEEDING, ON ACCOUNT OF OR
RESPECTING ANY SUCH CLAIMS OR INTERESTS; (B) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS
ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (C) CREATING, PERFECTING, OR ENFORCING ANY
ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE PROPERTY
OR ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN CONNECTION WITH
OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; AND (D)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS RELEASED,
EXCULPATED, OR SETTLED PURSUANT TO THE PLAN.




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       I.      Term of Bankruptcy Injunction or Stays.

                All injunctions or stays provided for in the Chapter 11 Cases under sections 105
or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the Effective Date. All injunctions or stays contained in this
Plan or the Confirmation Order shall remain in full force and effect in accordance with their
terms.

       J.      Setoff.

                Notwithstanding anything herein, in no event shall any holder of a Claim be
entitled to setoff any Claim against any claim, right, or Cause of Action of the Debtors or the
Reorganized Debtors, unless such holder preserves its right to setoff by filing a motion for
authority to effect such setoff on or before the Confirmation Date (regardless of whether such
motion is heard prior to or after the Confirmation Date), and notwithstanding any indication in
any proof of claim or otherwise that such holder asserts, has, or intends to preserve any right of
setoff pursuant to section 553 of the Bankruptcy Code or otherwise.

       K.      Preservation of Insurance.

               Except as otherwise provided herein, the Debtors’ discharge and release from all
Claims as provided herein, except as necessary to be consistent with this Plan, shall not diminish
or impair the enforceability of any insurance policy that may cover Claims against the Debtors or
the Reorganized Debtors, including their officers and current and former directors, or any other
person or entity.

       L.      Indemnification Obligations.

                The Debtors’ obligations to indemnify the Indemnified Parties shall survive and
shall continue in full force and effect for the benefit of the Indemnified Parties, notwithstanding
confirmation of and effectiveness of the Plan, and such indemnification shall include, but not be
limited to, all actions taken in connection with the Restructuring Support Agreement, the filing
of the Chapter 11 Cases, the DIP Facility, the Interim DIP Order, the Final DIP Order, the DIP
Credit Agreement and the Plan.

                                                X.

                              EFFECTIVENESS OF THIS PLAN

       A.      Conditions Precedent to Confirmation.

It shall be a condition to confirmation of this Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article X.C hereof:

               1.     the Exit Facility Documents in a form acceptable to the Exit Facility
Agent and Exit Facility Lenders shall be executed, and, except with respect to those conditions
precedent that are contingent on the occurrence of the Effective Date, all conditions precedent to
the consummation thereof (including without limitation any conditions in the Exit Facility Term


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Sheet) shall been satisfied in accordance with the terms thereof (or waived by the Exit Facility
Agent and Lenders);

              2.     an order finding that the Disclosure Statement contains adequate
information pursuant to section 1125 of the Bankruptcy Code shall have been entered by the
Court;

               3.     the Confirmation Order shall be in form and substance reasonably
acceptable to the Debtors, BOC, Riesen Funding, the DIP Agent, and the Exit Facility Agent and
Lenders; and

               4.       the Restructuring Support Agreement shall be in full force and effect and
binding on all parties thereto, and shall not have been terminated by the parties thereto.

               5.     this Plan, the Plan Supplement, and all of the schedules, documents, and
exhibits contained therein shall have been filed in form and substance reasonably acceptable to
the Debtors, BOC, Riesen Funding, and the Exit Facility Agent and Lenders.

       B.      Conditions Precedent to the Effective Date.

               It shall be a condition to the Effective Date of this Plan that the following
provisions, terms, and conditions are approved or waived pursuant to the provisions of Article
X.C hereof:

               1.     the Confirmation Order, in form and substance reasonably acceptable to
the Debtors, the Supporting Parties, the DIP Agent, and the Exit Facility Agent and Lenders,
shall have been entered by the Court;

               2.     the Confirmation Order shall have become a Final Order;

               3.     the Confirmation Order shall have approved the limited substantive
consolidation of the Debtors provided under Article VI of this Plan;

               4.    the Exit Facility closing shall have occurred and the loans thereunder shall
be funded or scheduled for funding upon consummation of this Plan;

               5.     [RESERVED];

               6.      the Debtors shall have paid all fees and documented out-of-pocket
expenses payable to the DIP Agent, the DIP Lender and BOC, including all documented out-of-
pocket fees and expenses of counsel and other professionals, subject to the terms and review
provisions set forth in the Interim DIP Order or Final DIP Order, which shall apply to BOC for
purposes of this Article X.B.6;

                7.     all authorizations, consents and regulatory approvals required (if any) for
this Plan’s effectiveness shall have been obtained;




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               8.     the formation and governance documents for each of the Reorganized
Debtors shall be consistent with this Plan, and shall be reasonably acceptable to the Exit Facility
Agent and Lenders;

               9.     The Debtors shall have executed and delivered to BOC the BOC Post-
Effective Date Credit Documents;

               10.    The Non-Debtor Guarantors shall have executed and delivered to BOC
new or restated guarantees of the BOC Claims in form acceptable to BOC; and

               11.     BOC and Exit Facility Agent and Lenders shall have executed and
delivered an Intercreditor Agreement in form acceptable to BOC and the Exit Facility Agent and
Lenders.

       C.      Waiver of Conditions.

               The conditions to confirmation of this Plan and to the Effective Date set forth in
Article X.A and X.B hereof may be waived by the Debtors (with the consent of the DIP Agent
and the Exit Facility Agent and Lenders) without notice, leave or order of the Court or any
formal action other than proceeding to confirm or consummate this Plan.

       D.      Notice of Confirmation and Effective Date.

                On or before five (5) Business Days after the occurrence of the Effective Date, the
Reorganized Debtors shall mail or cause to be mailed to all holders of Claims and Interests a
notice that informs such holders of (i) the entry of the Confirmation Order, (ii) the occurrence of
the Effective Date, (iii) the occurrence of the Administrative Claims Bar Date and deadline for
submission of Professional Fee Claims, and (iv) such other matters as the Debtors deem
appropriate.

       E.      Effect of Failure of Conditions.

               In the event that the Effective Date does not occur: (a) the Confirmation Order
shall be vacated; (b) no Distributions under this Plan shall be made; (c) the Debtors and all
holders of Claims and Equity Interests shall be restored to the status quo ante as of the day
immediately preceding the Confirmation Date as though the Confirmation Date had never
occurred; and (d) the Debtors’ obligations with respect to Claims and Equity Interests shall
remain unchanged and nothing contained in this Plan shall (i) constitute or be deemed a waiver
or release of any Claims against or any Equity Interests in the Debtors or any other Person, (ii)
prejudice in any manner any right, remedy or claim of the Debtors or any Person in any further
proceedings involving the Debtors or otherwise, or (iii) be deemed an admission against interest
by the Debtors or any other Person.

       F.      Vacatur of Confirmation Order.

               If a Final Order denying confirmation of this Plan is entered, or if the
Confirmation Order is vacated, then this Plan shall be null and void in all respects, and nothing
contained in this Plan shall (a) constitute a waiver or release of any Claims against or Equity


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Interests in the Debtors, (b) prejudice in any manner the rights of the holder of any Claim
against, or Equity Interest in, the Debtors, (c) prejudice in any manner any right, remedy or claim
of the Debtors, or (d) be deemed an admission against interest by the Debtors.

       G.      Revocation, Withdrawal, Modification, or Non-Consummation.

               The Debtors reserve the right to revoke, withdraw, amend, or modify this Plan at
any time prior to the Confirmation Date (in each case subject to the Debtors’ obligations under
the Restructuring Support Agreement, the Exit Facility Term Sheet, and Exit Facility
Documents, except as otherwise provided in Article XII.C of this Plan or as otherwise consented
to in writing by the Exit Facility Agent and Lenders). If the Debtors revoke or withdraw this
Plan, the Confirmation Order is not entered, or the Effective Date does not occur, (i) this Plan
shall be null and void in all respects, (ii) any settlement or compromise embodied in this Plan
(including the fixing or limiting the amount of any Claim or Class of Claims), assumption or
rejection of executory contracts or leases effected by this Plan, and any document or agreement
executed pursuant to this Plan shall be deemed null and void, and (iii) nothing contained in this
Plan, and no acts taken in preparation for consummation of this Plan, shall (a) constitute or be
deemed a waiver or release of any Claims by or against, or any Equity Interests in, the Debtors or
any other Person, (b) prejudice in any manner any right, remedy or claim of the Debtors or any
other Person in any further proceeding involving the Debtors or otherwise, or (c) constitute an
admission against interest by the Debtors or any other Person.

                                               XI.

                              RETENTION OF JURISDICTION

                The Court shall have exclusive jurisdiction over all matters arising out of, and
related to, the Chapter 11 Cases and this Plan pursuant to, and for the purposes of, section 105(a)
and section 1142 of the Bankruptcy Code and for, among other things, the following purposes:

                1.    to hear and determine motions for the assumption or rejection of executory
contracts or unexpired leases pending on the Confirmation Date, and the allowance of Claims
resulting therefrom;

              2.      to determine any other applications, adversary proceedings, and contested
matters pending on the Effective Date;

              3.     to ensure that Distributions to holders of Allowed Claims are
accomplished as provided herein;

               4.     to resolve disputes as to the ownership of any Claim or Equity Interest;

               5.     to hear and determine timely objections to Claims;

             6.      to enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, modified or vacated;




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               7.     to issue such orders in aid of execution of this Plan, to the extent
authorized by section 1142 of the Bankruptcy Code;

                8.     to consider any modifications of this Plan, to cure any defect or omission,
or to reconcile any inconsistency in any order of the Court, including the Confirmation Order;

             9.     to hear and determine all applications for compensation and
reimbursement of expenses of Professionals under sections 328, 330, 331 and 503(b) of the
Bankruptcy Code;

                10.   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan;

                 11.    to hear and determine any issue for which this Plan requires a Final Order
of the Court;

              12.     to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

               13.     to hear and determine disputes arising in connection with compensation
and reimbursement of expenses of professionals for the DIP Agent and BOC for services
rendered and expenses incurred during the period commencing on the Petition Date through and
including the Effective Date;

             14.    to hear and determine any Causes of Action preserved under this Plan
under Bankruptcy Code sections 544, 547, 548, 549, 550, 551, 553, and 1123(b)(3);

               15.    to hear and determine any matter regarding the existence, nature and scope
of the Debtors’ discharge;

                16.    to hear and determine any matter regarding the existence, nature, and
scope of the releases and exculpation provided in Article IX of this Plan; and

                 17.    to enter a final decree closing the Chapter 11 Cases.

If the Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise without
jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases, then
Article XI of this Plan shall have no effect upon and shall not control, prohibit, or limit the
exercise of jurisdiction by any other court having jurisdiction with respect to such matter.

                                                XII.

                               MISCELLANEOUS PROVISIONS

       A.        Modification of this Plan.

             Subject to the limitations contained in this Plan and the Restructuring Support
Agreement: (1) the Debtors reserve the right, in accordance with the Bankruptcy Code and the


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Bankruptcy Rules, to amend, modify, revoke or withdraw this Plan prior to the entry of the
Confirmation Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; and (2) after the entry of the Confirmation Order, the Debtors or the
Reorganized Debtors, as the case may be, may, upon order of the Court, amend or modify this
Plan, in accordance with Section 1127(b) of the Bankruptcy Code.

               Entry of a Confirmation Order shall result in all modifications or amendments to
this Plan occurring after the solicitation thereof being approved pursuant to section 1127(a) of
the Bankruptcy Code.

               Notwithstanding anything to the contrary herein, the Debtors may revoke or
withdraw this Plan upon the occurrence of an unwaived “Termination Event” under (and as
defined in) the Restructuring Support Agreement (other than a Termination Event caused by a
breach by the Debtors); provided, however, that the Debtors reserve the right to fully or
conditionally waive, on a prospective or retroactive basis, the effects of this paragraph in respect
of any such Termination Event, with any such waiver effective only if in writing and signed by
the Debtors.

       B.      Dissolution of Creditors’ Committee.

               The Creditors’ Committee shall continue in existence until the Effective Date to
exercise those powers and perform those duties specified in section 1103 of the Bankruptcy
Code. On the Effective Date, the Creditors’ Committee shall be dissolved and its members shall
be deemed released of all their duties, responsibilities and obligations in connection with the
Chapter 11 Cases or this Plan and its implementation, and the retention or employment of the
Creditors’ Committee’s attorneys, financial advisors, and other agents shall terminate as of the
Effective Date.

       C.      Votes Solicited in Good Faith.

                The Debtors have, and upon confirmation of this Plan shall be deemed to have,
solicited acceptances of this Plan in good faith and in compliance with the applicable provisions
of the Bankruptcy Code. The Debtors (and each of their respective affiliates, agents, directors,
managers, officers, members, employees, advisors, and attorneys) have participated in good faith
and in compliance with the applicable provisions of the Bankruptcy Code in the offer and
issuance of the securities offered and sold under this Plan and, therefore, are not, and on account
of such offer and issuance will not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of this Plan or the offer
or issuance of the securities offered and distributed under this Plan.

       D.      Obligations Incurred After the Effective Date.

              Except as otherwise specifically provided for in this Plan, from and after the
Effective Date, the Reorganized Debtors shall, in the ordinary course of business and without
any further notice to or action, order, or approval of the Court, pay in Cash all obligations
including the reasonable legal, professional, or other fees and expenses related to the
implementation of this Plan incurred by the Reorganized Debtors. Upon the Effective Date, any
requirement that Professionals comply with sections 327 through 331 and 1103 of the


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Bankruptcy Code in seeking retention or compensation of services rendered after such date shall
terminate, and the Reorganized Debtors may employ and pay any Professional in the ordinary
course of business without any further notice to or action, order or approval of the Court.

       E.      Request for Expedited Determination of Taxes.

               The Reorganized Debtors shall have the right to request an expedited
determination under section 505(b) of the Bankruptcy Code with respect to tax returns (other
than federal tax returns) filed by any of them, or to be filed by any of them, for any and all
taxable periods ending after the Petition Date through the Effective Date.

       F.      Determination of Tax Filings and Taxes.

               (a) For all taxable periods ending on or prior to, or including, the Effective Date,
the Reorganized Debtors shall prepare and file (or cause to be prepared and filed) on behalf of
the Debtors, all combined, consolidated or unitary tax returns, reports, certificates, forms or
similar statements or documents for any group of entities that include the Debtors (collectively,
“Group Tax Returns”) required to be filed or that the Reorganized Debtors otherwise deem
appropriate, including the filing of amended Group Tax Returns or requests for refunds.

               (b) The Reorganized Debtors shall be entitled to the entire amount of any refunds
and credits (including interest thereon) with respect to or otherwise relating to any taxes of the
Debtors, including for any taxable period ending on or prior to, or including, the Effective Date.

       G.      Governing Law.

               Unless a rule of law or procedure is supplied by Federal law (including the
Bankruptcy Code and Bankruptcy Rules), the laws of the State of Delaware shall govern the
construction and implementation of this Plan, any agreements, documents, and instruments
executed in connection with this Plan (except as otherwise set forth in those agreements or
instruments, in which case the governing law of such agreements shall control). Entity
governance matters shall be governed by the laws of the state of incorporation or formation of
the applicable Debtor.

       H.      Filing or Execution of Additional Documents.

              On or before the Effective Date, the Debtors (with the consent of the DIP Agent)
or the Reorganized Debtors, shall file with the Court or execute, as appropriate, such agreements
and other documents as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of this Plan.

       I.      Exemption From Transfer Taxes.

               Pursuant to section 1146(c) of the Bankruptcy Code, (a) the issuance, transfer or
exchange under this Plan of the New Equity Interests, (b) the making or assignment of any lease
or sublease, or (c) the making or delivery of any other instrument whatsoever, in furtherance of
or in connection with this Plan shall not be subject to any stamp, real estate transfer, mortgage,
recording sales or use or other similar tax.


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       J.         Exemption for Issuance of New Equity Interests.

               The issuance of the New Equity Interests and Distribution thereof to holders of
the Riesen Funding Claim and the warrants issued pursuant to the Exit Facility, to the extent that
they are deemed Securities (as defined in the Securities Act of 1933, as amended), shall be
authorized and exempt from registration under the securities laws solely to the extent permitted
under section 1145 of the Bankruptcy Code, as of the Effective Date without further act or action
by any person, unless required by provision of the relevant governance documents or applicable
law, regulation, order or rule; and all documents evidencing the same shall be executed and
delivered as provided for in this Plan or the Plan Supplement.

       K.         Waiver of Federal Rule of Civil Procedure 62(a).

              The Debtors may request that the Confirmation Order include (a) a finding that
Fed. R. Civ. P. 62(a) shall not apply to the Confirmation Order, and (b) authorization for the
Debtors to consummate this Plan immediately after entry of the Confirmation Order.

       L.         Exhibits/Schedules.

               All Exhibits and schedules to this Plan and the Plan Supplement are incorporated
into and constitute a part of this Plan as if set forth herein.

       M.         Notices.

              All notices, requests, and demands hereunder to be effective shall be in writing
and unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received
and telephonically confirmed, addressed as follows:

To the Debtors:          Mac Acquisition LLC
                         1855 Blake Street
                         Suite 200
                         Denver, CO 80202
                         Attention: Nishant Machado, President, CEO & CRO
                         nmachado@mackinacpartners.com

with copies to:          Young Conaway Stargatt & Taylor, LLP
                         1000 North King Street
                         Wilmington, DE 19801
                         Attention: Edmon L. Morton, Esq. and Michael R. Nestor, Esq.
                         emorton@ycst.com
                         mnestor@ycst.com




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                       - and -

                       Gibson Dunn & Crutcher LLP
                       333 South Grand Avenue
                       Los Angeles, CA 90071
                       Attention: Jeffrey C. Krause, Esq. and Michael S. Neumeister, Esq.
                       jkrause@gibsondunn.com
                       mneumeister@gibsondunn.com

       N.      Plan Supplement.

                The Plan Supplement will be filed with the Clerk of the Court no later than ten
(10) calendar days prior to the Confirmation Hearing, unless such date is further extended by
order of the Court on notice to parties in interest. The Plan Supplement may be inspected in the
office of the Clerk of the Court during normal court hours and shall be available online at
“https://ecf.deb.uscourts.gov.” Holders of Claims or Existing Equity Interests may obtain a copy
of the Plan Supplement upon written request to counsel to the Debtors in accordance with Article
XII.N of this Plan or by accessing the website maintained by the Debtors’ claims and noticing
agent at https://www.donlinrecano.com/mg.

       O.      Further Actions; Implementations.

              The Debtors shall be authorized to execute, deliver, file or record such
documents, contracts, instruments, releases and other agreements and take such other or further
actions as may be necessary to effectuate or further evidence the terms and conditions of this
Plan. From and after the Confirmation Date, the Debtors shall be authorized to take any and all
steps and execute all documents necessary to effectuate the provisions contained in this Plan.

       P.      Severability.

                If, prior to the entry of the Confirmation Order, any term or provision of this Plan
is held by the Court to be invalid, void, or unenforceable, the Court, at the request of the Debtors
(with the consent of the DIP Agent), shall have the power to alter and interpret such term or
provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such
term or provision shall then be applicable as altered or interpreted. Notwithstanding any such
holding, alteration, or interpretation, the remainder of the terms and provisions of this Plan will
remain in full force and effect and will in no way be affected, impaired, or invalidated by such
holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of this Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its
terms.

       Q.      Entire Agreement.

              Except as otherwise indicated, this Plan and the Plan Supplement supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings,



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and representations on such subjects, all of which have become merged and integrated into this
Plan.

       R.      Binding Effect.

               This Plan shall be binding on and inure to the benefit of the Debtors, the holders
of Claims against and Equity Interests in the Debtors, and each of their respective successors and
assigns, including each of the Reorganized Debtors, and all other parties in interest in the
Chapter 11 Cases.

               Subject to Article X of this Plan and notwithstanding Bankruptcy Rules 3020(e),
6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of this Plan,
the Plan Supplement and the Confirmation Order shall be immediately effective and enforceable
and deemed binding upon the Debtors and any and all holders of Claims or Interests (regardless
of whether such Claims or Interests are deemed to have accepted or rejected this Plan), all
entities that are parties to or are subject to the settlements, compromises, releases, and
injunctions described in this Plan, and any and all non-Debtor parties to the executory contracts
and unexpired leases with the Debtors. All Claims and debts shall be as fixed, adjusted, or
compromised, as applicable, pursuant to this Plan regardless of whether any holder of a Claim or
debt has voted on this Plan.

       S.      No Change in Ownership or Control.

               Consummation of this Plan is not intended to and shall not constitute a change in
ownership or change in control, as defined in any employment or other agreement or plan in
effect on the Effective Date to which a Debtor is a party.

       T.      Substantial Consummation.

               On the Effective Date, this Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code; provided, however, that nothing
herein shall prevent the Debtors or any other party in interest from arguing that substantial
consummation of this Plan has occurred prior to the Effective Date.

       U.      Conflict.

              The terms of this Plan shall govern in the event of any inconsistency with the
summaries of this Plan set forth in the Disclosure Statement. In the event of any inconsistency or
ambiguity between and among the terms of this Plan, the Disclosure Statement, and the
Confirmation Order, the terms of the Confirmation Order shall govern and control.




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        IN WITNESS WHEREOF, each Debtor has executed this Plan this 25th day of October,
2017.


MAC ACQUISITION LLC                           MACARONI GRILL SERVICES
                                              LLC

/s/ Nishant Machado                           /s/ Nishant Machado
Nishant Machado                               Nishant Machado
President, Chief Executive Officer            President, Chief Executive Officer
and Chief Restructuring Officer               and Chief Restructuring Officer


MAC PARENT LLC                                MAC HOLDING LLC

/s/ Nishant Machado                           /s/ Nishant Machado
Nishant Machado                               Nishant Machado
President, Chief Executive Officer            President, Chief Executive Officer
and Chief Restructuring Officer               and Chief Restructuring Officer


MAC ACQUISITION OF NEW                        MAC ACQUISITION OF KANSAS
JERSEY LLC                                    LLC

/s/ Nishant Machado                           /s/ Nishant Machado
Nishant Machado                               Nishant Machado
President, Chief Executive Officer            President, Chief Executive Officer
and Chief Restructuring Officer               and Chief Restructuring Officer


MAC ACQUISITION OF ANNE ARUNDEL MAC ACQUISITION OF FREDERICK
COUNTY LLC                      COUNTY LLC

/s/ Nishant Machado                           /s/ Nishant Machado
Nishant Machado                               Nishant Machado
President, Chief Executive Officer            President, Chief Executive Officer
and Chief Restructuring Officer               and Chief Restructuring Officer


MAC ACQUISITION OF BALTIMORE
COUNTY LLC

/s/ Nishant Machado
Nishant Machado
President, Chief Executive Officer
and Chief Restructuring Officer


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